                   UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

     In the Matter of:

     BO MATTHEWS CENTER OF                            Case No. 21-81371-CRJ-7
     EXCELLENCE                                       Chapter 7


                                 MOTION TO DISMISS

          COMES NOW the Bo Matthews Center of Excellence, pursuant to Rule

 12(b)(6) of the Federal Rules of Civil Procedure, Rule 1011(b) of the Federal Rules

 of Bankruptcy Procedure, and 11 U.S.C. § 707, and respectfully moves to dismiss

 the involuntary bankruptcy petition filed by Paulette Edwards and her business, Just

 4 the Kids Daycare, LLC (“Petitioners’).

                                    INTRODUCTION

          This involuntary bankruptcy is merely the latest in a series of legal filings by

 Petitioners against their former landlord, Bo Matthews, and his Alabama non-profit

 corporation, the Bo Matthews Center of Excellence (“BMCE”). As explained

 below, the involuntary bankruptcy is due to be dismissed because it was filed for an

 improper purpose, and Petitioners are not eligible creditors with an undisputed claim

 against BMCE. 1



 1
   Additionally, BMCE has not been served. The filing of this motion dismiss is not
 an acceptance of service or a waiver thereof. See Fed. R. Civ. P. 12(b)(5).
                                              1

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       Paulette Edwards and her business, Just 4 the Kids Daycare, LLC, are the

 former tenants of a property owned by BMCE. On October 14, 2020, Mr. Matthews

 notified Petitioners that their lease was being terminated for non-payment of rent.2

 However, Petitioners refused to surrender possession of the property back to Mr.

 Matthews. On October 26, 2020, Mr. Matthews filed an unlawful detainer action

 against Petitioners in Madison County District Court, Case No. 47-DV-2020-

 901758.3 A copy of the unlawful detainer complaint is attached as Exhibit 1.

       On November 30, 2020, following a trial of the unlawful detainer claim at

 which Petitioners were represented by counsel, the District Court awarded

 possession of the property to Mr. Matthews. A copy of the Final Order of Possession

 is attached as Exhibit 2.

       Over the past eight months since the District Court awarded possession to Mr.

 Matthews, Petitioners have continued in their refusal to surrender possession of the



 2
    Regardless of any previous non-payment of rent issues, the lease signed by
 Petitioners had a term that ended on July 31, 2021. At this time, there is no question
 is terminated.
 3
   Although the property is owned by BMCE, the unlawful detainer action was filed
 in the name of Mr. Matthews because Mr. Matthews is the person who signed the
 lease with Ms. Edwards, and because he is named in the lease as the “Lessor.” This
 is permissible under Alabama law, which does not require an unlawful detainer
 action to be brought by the holder of title to the property. See Ala. Code § 6-6-
 310(2) (defining unlawful detainer as failing to surrender possession to “anyone
 lawfully entitled or his or her agent); and Jackson v. Davis, 153 So. 820, 827 (Ala.
 Civ. App. 2014) (explaining the requirement of title as one of the differences
 between ejectment and unlawful detainer actions).
                                           2

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 property and have instead launched an endless series of meritless legal attacks that

 have included (1) two cases in Madison County Circuit Court, (2) two appeals to the

 Supreme Court of Alabama, (3) a RICO lawsuit filed in federal district court, and

 (4) now, this involuntary bankruptcy.

       On December 3, 2020, Petitioners appealed the unlawful detainer case to the

 Circuit Court of Madison County, Case No. 47-CV-2020-000096.               However,

 Petitioners subsequently failed to pay rent into Court in a timely manner as was

 required to maintain possession of the property during such an appeal. See Ala.

 Code § 6-6-351. When the Circuit Court issued a writ of possession in favor of Mr.

 Matthews (as was required by the statute), Petitioners attempted to file an appeal to

 the Supreme Court of Alabama, Appeal No. 1200294. Their appeal was improper,

 however, and was dismissed on a motion filed by Mr. Matthews. A copy of the

 Supreme Court’s dismissal order is attached as Exhibit 3.

       After Petitioners’ appeal was dismissed by the Supreme Court, the unlawful

 detainer case was returned to the Madison County Circuit Court. Upon returning to

 Circuit Court, Petitioners filed counterclaims against Mr. Matthews claiming that

 they are owed money for repairs made to the property during their tenancy.4 A copy



 4
  Petitioners claim that they are owned money for repairs even though their lease
 acknowledged receipt of the property in good repair, and even though that they
 agreed in the lease to be responsible for any repairs (subject to limited exceptions
 which do not apply to the work being claimed).
                                          3

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 of Petitioners’ Verified Amended Answer and Counterclaim is attached as Exhibit

 4.   On June 3, 2021, Mr. Matthews filed an answer denying Petitioners’

 counterclaims. A copy of the answer denying Petitioners’ counterclaims in the

 unlawful detainer case is attached hereto as Exhibit 5.

       The disputed counterclaims that Petitioners filed against Mr. Matthews in the

 unlawful detainer case are the same claims that Petitioners now attempt assert as

 being undisputed in their involuntary bankruptcy against BMCE. Those disputed

 claims have not been resolved and are still pending in Madison County Circuit Court.

       Petitioners’ unusual filings have not stopped at the unlawful detainer case. On

 March 5, 2021, Petitioners filed a RICO case against Mr. Matthews’ daughter,

 Brandi Matthews Ellis, and her father-in-law, Ronnie Ellis, in the United States

 District Court for the Northern District of Alabama. See Paulette Edwards and Just

 4 Kids Daycare v. Ronnie Ellis, Suite Elements, LLC, and Brandi Matthews Ellis,

 Case No. 5:21-cv-00349. A copy of the RICO complaint is attached as Exhibit 6.

 In the RICO case, Petitioners accuse members of the Matthews family of stealing

 COVID-19 rental aid funds that she claims she was due to receive from the federal

 government. A motion to dismiss has been filed and is pending in that case.

       On June 30, 2021, the Court in the unlawful detainer case issued an order

 finding that, notwithstanding any monetary disputes between the parties, Petitioners’




                                           4

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 lease was due to expire at the end of July. A copy of the order is attached hereto as

 Exhibit 7.

       On July 7, 2021, faced with an imminent eviction from the property at the end

 of month, Petitioners tried to file a second lawsuit in Madison County Circuit Court,

 naming BMCE as the defendant. A copy of Petitioners’ complaint against BMCE

 is attached hereto as Exhibit 8. In the second case, Petitioners sought to enjoin their

 eviction by the Circuit Court in the unlawful detainer case, and they also sought to

 assert the same claims for repairs against BMCE that they had asserted against Mr.

 Matthews in the unlawful detainer case. These again are the same disputed claims

 that Petitioners contend form the basis of their involuntary bankruptcy petition.

 BMCE disputed Petitioners’ claims and filed a motion to dismiss them. A copy of

 BMCE’s motion to dismiss is attached as Exhibit 9.

       On July 17, 2021, Petitioners filed a petition for writ of mandamus with the

 Supreme Court of Alabama, Appeal No. 1200722, requesting that the Supreme Court

 order dismissal of the unlawful detainer case against them. The Supreme Court has

 not done so and has not issued any ruling on that petition.

       Despite the Circuit Court’s order that the lease would be expired by its terms

 at the end of July, Ms. Edwards again refused to surrender the property at the end of

 the month. So, on August 2, 2021, Mr. Matthews filed a motion for partial summary

 judgment, writ of possession, and disbursement of funds in the unlawful detainer


                                           5

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 case (the first case, where Mr. Matthews is the plaintiff). A copy of the motion filed

 by Mr. Matthews is attached as Exhibit 10. The Court scheduled that motion to be

 heard on the morning of August 13, 2021. A copy of the hearing order is attached

 as Exhibit 11.

       On August 11, 2021, the Court in the second case that Petitioners filed against

 BMCE granted BMCE’s motion to dismiss, without prejudice. A copy of the

 dismissal order in the case against BMCE is attached as Exhibit 12.

       On August 12, 2021, the day after the Court dismissed Petitioners’ second

 lawsuit against BCME, and the day before the Court in the unlawful detainer case

 was scheduled to hold a summary judgment hearing on the issue of possession,

 Petitioners attempted to file this involuntary bankruptcy against BMCE. Petitioners

 then filed a Suggestion of Bankruptcy in the unlawful detainer case, asserting that

 their filing of the involuntary bankruptcy against BMCE meant that Mr. Matthews

 could not proceed with his claim for possession of the property. 5 A copy of the

 Suggestion of Bankruptcy filed by Petitioners is attached as Exhibit 13.



 5
  Petitioners cited no authority and were incorrect as a matter of law as their assertion
 that this involuntary bankruptcy precludes Mr. Matthews from continuing to
 prosecute his claim for possession. See 11 U.S.C. § 303(f) (“until an order for relief
 in the case, any business of the debtor may continue to operate, and the debtor may
 continue to use, acquire, or dispose of property as if an involuntary case concerning
 the debtor had not been commenced.”); In re Mitchell, 206 B.R. 204, 212 (Bankr.
 C.D. Cal. 1997) (“The Section 362 stay does not apply where, as here, the debtor is
 the plaintiff in a lawsuit.”); and 11 U.S.C. § 362(b)(10) (providing an exception to
                                            6

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       This involuntary bankruptcy case is merely the latest of Petitioners’ filings

 aimed at trying to frustrate their eviction from the property owned by BMCE. As

 explained below, the petition should be dismissed because it was filed in bad faith,

 without and legal basis, and because Petitioners are not eligible creditors with an

 undisputed claim against BMCE.

                                    ARGUMENT

 I.    Petitioners Are Not Eligible Creditors With an Undisputed Claim
       Against BMCE.

       An involuntary bankruptcy is not a collections method for a single creditor.

 See In re Murray, 900 F.3d 53, 60 (2d Cir. 2018). “[I]nvoluntary bankruptcy

 petitions have serious consequences for the alleged debtor, such as loss of credit

 standing, inability to transfer assets and carry on business affairs, and public

 embarrassment.” Id. “A creditor does not have a special need for bankruptcy relief

 if it can go to state court to collect a debt.” In re Nordbrock, 772 F.2d 397, 400 (8th

 Cir. 1985).

       “In part because of the unusual nature of involuntary petitions, Congress

 provided bankruptcy courts with a variety of tools with which to police their use.”

 In re Murray, 900 F.3d at 60. “To begin, a petition must meet the statutory

 requirements for filing under Section 303.” Id. “Even if a petition meets the


 the automatic stay for actions to recover possession of nonresidential real property
 based upon expiration of lease prior to the commencement of the bankruptcy).
                                           7

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 statutory requirements of Section 303, however, a bankruptcy court may dismiss it

 for cause under Section 707(a) after notice and a hearing.” Id. “Cause is a fact-

 specific inquiry as to which a variety of factors may be relevant, including the

 purpose for which the petition was filed and whether state proceedings adequately

 protect the parties’ interests.” Id. “Inappropriate use of the Bankruptcy Code may

 constitute cause to dismiss, and courts that consider bad faith to be cause to dismiss

 often classify such inappropriate use as evidence of bad faith.” Id.

       The requirements to commence an involuntary bankruptcy case are governed

 by 11 U.S.C. § 303(b):

       An involuntary case against a person is commenced by the filing with
       the bankruptcy court of a petition under chapter 7 or 11 of this title—

              (1) by three or more entities, each of which is either a holder of
       a claim against such person that is not contingent as to liability or the
       subject of a bona fide dispute as to liability or amount, or an indenture
       trustee representing such a holder, if such noncontingent, undisputed
       claims aggregate at least $16,750 more than the value of any lien on
       property of the debtor securing such claims held by the holders of such
       claims;

              (2) if there are fewer than 12 such holders, excluding any
       employee or insider of such person and any transferee of a transfer that
       is voidable under section 544, 545, 547, 548, 549, or 724(a) of this title,
       by one or more of such holders that hold in the aggregate at least at least
       $16,750 of such claims; ….

       In general, the filing of an involuntary bankruptcy requires at least three

 creditors who hold claims that are “not contingent as to liability or the subject of a

                                           8

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 bona fide dispute as to liability or amount ….” 11 U.S.C. § 303(b)(1). When there

 are fewer than 12 creditors, 11 U.S.C § 303(b)(2) permits the case to be commenced

 by a single creditor; however, the single creditor’s claims must still “be not

 contingent as to liability or the subject of a bona fide dispute as to liability or amount

 ….” See In re Manhattan Indus., Inc., 224 B.R. 195, 199 (Bankr. M.D. Fla. 1997)

 (granting motion to dismiss involuntary bankruptcy filed by a single creditor).

       “In determining whether a creditor’s claims [are] subject to a ‘bona fide

 dispute’ within the meaning of § 303(b)(1) and (2), courts have adopted an objective

 standard.” In re Manhattan Indus., Inc., 224 B.R. at 199. “The outcome of a dispute

 need not be resolved, only its presence or absence and the Court need engage only

 in a limited analysis of the claims at issue.” Id. Stated differently, “[t]he court need

 not determine the probable outcome of the dispute, but merely whether one exists.”

 In re Gen. Aeronautics Corp., 594 B.R. 442, 466 (Bankr. D. Utah 2018).

       In the present case, Petitioners do not hold any claim against BMCE that is

 “not contingent as to liability or the subject of a bona fide dispute as to liability or

 amount ….” 11 U.S.C. § 303(b). As outlined above, all of Petitioners’ claims

 against BMCE are contingent and disputed in their entirety as to both liability and

 amount.

       Petitioners clearly knew that their claims against BMCE were disputed when

 they filed this involuntary bankruptcy. They knew this because they have been


                                             9

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 parties to at least two cases in Madison County Circuit Court where Mr. Matthews

 and BMCE have disputed their claims. No judgments have been entered in favor of

 Petitioners in any of the pending cases.        Rather, the courts that have heard

 Petitioners’ claims have consistently rejected them. Petitioners admit in their

 petition that they “unsuccessfully [have] sought to obtain judicial liens” on the

 property. (Doc. 1-1, ⁋ 10) (emphasis added). Indeed, the Circuit Court had entered

 an order dismissing Petitioners’ claims against BMCE, without prejudice, the day

 before they filed this action. Despite knowing that their claims are entirely disputed,

 Petitioners nonetheless filed this involuntary proceeding alleging that their claims

 are not subject to any dispute.

       Petitioners filed this involuntary proceeding as a tactical effort to adversely

 affect the unlawful detainer case that is pending in Madison County Circuit Court.

 This is the very definition of a bad faith filing that warrants dismissal for cause. In

 In re Manhattan Industries, Inc., 224 B.R. 195, 201 (Bankr. M.D. Fla. 1997), the

 court was confronted with a similar situation where a creditor filed an involuntary

 bankruptcy in an attempt to prevent the debtor from being heard on claims against

 the creditor in a state court lawsuit. The court dismissed the involuntary petition,

 explaining as follows:

       Faced with a potential monetary judgment against it, MBC has
       tactically decided to take on the offensive by filing an involuntary
       against the Debtor.


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       Using the bankruptcy process as a means to promote MBC’s individual
       interest is not consistent with the Bankruptcy Code as it will allow
       MBC to use bankruptcy laws as a sword rather than as a shield. Shell
       Oil Co. v. Waldron (In re Waldron), 785 F.2d 936, 940 (11th Cir.1986).
       The fundamental requirement that bankruptcy petitions be filed in good
       faith will be undermined by allowing MBC to proceed with its petition.
       Unscrupulous creditors should not be allowed to change the outcome
       of an existing lawsuit by filing for refuge in the bankruptcy courts. The
       parties have chosen the New Jersey proceedings to litigate their dispute.
       MBC has answered the Debtor's complaint and is extensively engaged
       in the course of discovery into the merits of the Debtor's claims.

       An inquiry is appropriate to determine the legitimate purpose of the
       parties who have sought to invoke the jurisdiction of bankruptcy and it
       is within the Court's discretion to take appropriate steps to prevent the
       abuse of the bankruptcy process pursuant to 11 U.S.C. § 105(a). There
       is no legitimate purpose for this involuntary petition. MBC’s
       motivation in filing for involuntary relief is inconsistent with the policy
       behind involuntary bankruptcies. MBC thus lacked good faith due to its
       improper purpose in filing its involuntary petition even if it had
       standing to file under § 303(b)(2).

       The Debtor’s Motion to Dismiss the involuntary petition is due to be
       granted on two basis. The judgment claim obtained by MBC is subject
       to a “bona fide dispute” and MBC filed for involuntary relief with the
       intent to frustrate the Debtor's New Jersey proceedings, thereby lacking
       good faith. Accordingly, the petition filed by MBC on August 12, 1997,
       seeking the Court to enter an order for involuntary relief pursuant to §
       303 is due to be dismissed.

 Id. at 201.

       As in Manhattan Industries, Petitioners filed this involuntary bankruptcy, in

 bad faith, despite the fact that they are not eligible creditors, in an attempt to gain a

 tactical advantage in the state court litigation. As in that case, this involuntary

 bankruptcy should be dismissed.


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       Additionally, when a bankruptcy court dismisses an involuntary petition in

 favor of the debtor, the Court is authorized to award costs and reasonable attorney’s

 fees against the petitioner. 11 U.S.C. § 303(i)(1). If the Court finds that the petition

 was filed in bad faith, the court may also award compensatory and punitive damages

 to the debtor. 11 U.S.C § 303(i)(2). Because this action was filed for an improper

 purpose and without a valid legal basis, BMCE respectfully requests an award of

 costs and attorneys’ fees against Petitioners.

                                    CONCLUSION

       BMCE respectfully requests that this Court dismiss the involuntary

 bankruptcy petition.    BMCE further requests that the Court award costs and

 reasonable attorney’s fees against Petitioners pursuant 11 U.S.C. § 303(i).

       Respectfully submitted this 18th day of August, 2021.

                                  By: /s/ S. Dagnal Rowe, Sr.
                                         S. Dagnal Rowe, Sr.
                                         ASB-4298-E66S

                                  By: /s/ Richard J.R. Raleigh, Jr.
                                         Richard J.R. Raleigh, Jr.
                                         ASB-5704-H67R

                                  By:/s/ Christopher L. Lockwood
                                         Christopher L. Lockwood
                                         ASB-4426-R71L




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                                   clockwood@wilmerlee.com

                           CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2021, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent by operation of the Court’s electronic

 filing system to all parties indicated on the electronic filing receipt. Parties may

 access this filing through the Court’s electronic filing system.


                                   /s/ Richard J.R. Raleigh, Jr.
                                   OF COUNSEL




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 1




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 2




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 3




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               IN THE SUPREME COURT OF ALABAMA

                                May 5, 2021

 1200294

 Just 4 The Kids Daycare and Paulette Edwards v. William P. Matthews
 (Appeal from Madison Circuit Court: CV-20-96).

                                  ORDER

     The “Appellee’s Motion to Dismiss Appeal” filed by William P.
 Matthews on April 12, 2021, having been submitted to this Court,

      IT IS ORDERED that the Motion is GRANTED and the
 above-styled appeal is DISMISSED as being taken from a non-final
 judgment.

      IT IS FURTHER ORDERED that this Court’s Order dated
 February 8, 2021, staying the Writ of Possession is hereby VACATED.

      IT IS FURTHER ORDERED that the Motion to Strike filed by
 Appellants Just 4 The Kids Daycare and Paulette Edwards on April 20,
 2021, is DISMISSED as MOOT.

    Parker, C.J., and Bolin, Shaw, Wise, Bryan, Sellers,
 Mendheim, Stewart, and Mitchell, JJ., concur.

      Witness my hand this 5th day of May, 2021.




                                       Clerk of Court,
                                       Supreme Court of Alabama
            FILED
           May 5, 2021
            3:01 PM

            Clerk
   Supreme Court of Alabama


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               IN THE SUPREME COURT OF ALABAMA

                                May 5, 2021

 cc:
 Hon. Claude E. Hundley III
 Madison County Circuit Clerk’s Office
 Mari Morrison
 Christopher Lockwood
 Richard J.R. Raleigh, Jr.




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            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
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                     EXHIBIT 4




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                                      AlaFile E-Notice




                                                                        47-CV-2020-000096.00


To: LOCKWOOD CHRISTOPHER LEA
    clockwood@wilmerlee.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

                    WILLIAM P MATTHEWS V JUST 4 THE KIDS DAYCARE ET AL
                                   47-CV-2020-000096.00

                      The following answer was FILED on 5/15/2021 7:11:02 PM




    Notice Date:    5/15/2021 7:11:02 PM




                                                                             DEBRA KIZER
                                                                    CIRCUIT COURT CLERK
                                                                MADISON COUNTY, ALABAMA
                                                                MADISON COUNTY, ALABAMA
                                                                   100 NORTHSIDE SQUARE
                                                                     HUNTSVILLE, AL, 35801

                                                                                256-532-3390




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            IN THE CIRCUIT COURT FOR MADISON COUNTY,                       ALABAMA
                                                                                 CIRCUIT COURT OF
                                                                             MADISON COUNTY, ALABAMA
                                                                                DEBRA KIZER, CLERK
 MATTHEWS, WILLIAM P.,                        )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           ) CASE NO.       CV2020-000096.00
                                              )
 JUST 4 THE KIDS DAYCARE,                     )
 EDWARDS, PAULETTE,                           )
                                              )
        Defendants.                           )

                 VERIFIED AMENDED ANSWER AND COUNTERCLAIM

        COME NOW the Defendants, JUST 4 THE KIDS DAYCARE (hereinafter “Daycare”)
 and PAULETTED EDWARDS (hereinafter “Edwards”), and in conjunction with their appeal
 from the Madison County District Court to the Circuit Court, submit their Amended Answer and
 Counterclaims as to the cause of action filed by WILLIAM P. MATTHEWS (hereinafter
 “Matthews”), and state as follows:
                                      AMENDED ANSWER
 1.     On October 26, 2020, Matthews filed an Eviction/Unlawful Detainer action against the
        Daycare and Edwards alleging a breach of lease terms “by failing to pay rent” and failing
        to vacate after a 10 Day Notice of Termination of Lease Agreement. Matthews claimed
        a sum of $20,000.00 owed plus attorney costs and fees, in addition future rents, late fees,
        interest and other charges accruing while Daycare and Edwards remained in possession.
 2.     Edwards, pro se, filed an Answer on behalf of Daycare and Edwards on October 30,
        2020. Edwards pro se Answer included the following defenses:
        a. Unaccounted payments made in May and June, 2018 in the amount of $9,700 which
           were paid before the lease was to begin August 1, 2018. Payments were made by
           Edwards direct to Matthews for monthly amount of $3,800 from September through
           December of 2018 without possession being given to Edwards and Daycare by
           Matthews. None of these payments were credited where the lease specified in number
           14 a Security Deposit may be applied by the lessor to cure any default in the lease.
           (Ex. 1 and 2).
        b. Occupancy and Unclean Hands - Occupancy of building could not be accomplished
           until January, 2019 due to building not being up to code requirement for the City of
           Huntsville and State of Alabama; and, Matthews occupied the building using the
           premises for his personal storage until October, 2018. An email from Barbara
           Matthews to Edwards and the Daycare, dated January 6, 2019 acknowledged the
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         occupancy issue and an agreement to extend the lease period an additional 6 months.
         (Ex. 3).
         Additional occupancy issues occurred in March, 2020 when Barbara Matthews
         sought another business relationship with Edwards using the same building leased to
         Edwards and the Daycare for an Alabama K1 program. Two classrooms and another
         large room were taken over by Barbara Matthews without consent of Edwards and the
         Daycare. Edwards declined participation in this business relationship yet the large
         room was made a conference room and in the absence of Edwards from the premises,
         Barbara Matthews brought in State of Alabama officials to see the facility as part of
         her application for the Alabama K1 program. Edwards, upon learning of the visit,
         contacted these officials and made known her dissent from any participation. The
         furniture brought into the large room and made into a conference room has remained
         in the building as of this date. No monthly rental adjustment was made in the lease
         with Edwards and the Daycare for this “commandeering” of space without
         authorization.
      c. Promissory estoppel based upon Matthews statements regarding compensation for
         repairs to the building to bring the building up to code prior to occupancy which were
         never credited after Edwards and the Daycare paid out over $122,000 using the
         authorized contractor and his agents as specified in the lease. As well as applies
         the payment of $1900 monthly rental adjustment beginning in March 2020 until
         relief from pandemic (Covid 19).
         Edwards also relied upon Matthews agreement to apply for Covid 19 Business rental
         relief payments following a meeting with Matthews, Brandi Matthews (Matthews
         daughter and former official with City of Huntsville that assisted with the relief
         program) and Kevin Matthews (Matthews brother) in June, 2020 where an application
         would be made by Matthews for the monthly rents of $3,800 to be paid through a
         forgiveable loan for a defined period. It has been discovered such a loan was made in
         the name of a business (Suite Elements LLC, which Brandi Matthews is an agent)
         unauthorized by Edwards and Daycare and no payments were made from these loan
         proceeds to Matthews on behalf of Edwards and Daycare. An investigation is in
         progress by Federal law officials as to a fraud. (Ex. 4).
                            AMENDED ADDITIONAL DEFENSES
      d. Equitable Lien – Edwards paid over $122,000 in repairs as of the date of original
         Answer to the Unlawful Possession lawsuit by Matthews. That amount has since
        increased as a result of the heating and air conditioner failure, leaking roofing, inside
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        and outside plumbing issues and termites and termite damages to the building itself,
        and multiple other issues.
        Terms of the lease were Matthews was to pay for all heating and air conditioner
        repairs over $500 – Matthews has failed to reimburse or pay for any of these.
        Matthews was to be responsible for repair to the roof and has failed to perform and
        at all times was informed of the damages and the specified contractor named by
        Matthews was used to perform the services or his agent. Matthews was responsible
        for the exterior of the building, including fences, grass, concrete, plumbing and
        other defaults for which Edwards and the Daycare had to maintain and/or bring up
        to code in order to be accomplish the purpose of the lease which was for a daycare.
        Matthew’s contractor required payment for services performed before performing
        any new services. Edwards had to pay the contractor because she could not employ
        her own without Matthew’s consent – which he would not grant when requested.
      e. Unjust Enrichment and Equitable Interest; Equitable Estoppel– currently, over
        $200,000 has been spend by Edwards and the Daycare just for repairs associated with
        the premises. Edwards is due an equitable interest in the real property at issue and the
        Unlawful Detainer is due to be denied and dismissed with prejudice. Edwards was
        advised by Matthews prior to signing the lease on the building that the building was in
        move in condition and would not need any repairs. For Edwards and the Daycare to
        now be removed after having expended such extensive work and money would render
        an unjust enrichment to Matthews. This is in addition to the security deposit and
        monthly rent that has been paid since April, 2018. It would be inequitable to expect to
        leave the building in a significantly improved state substantially over when leased and
        to the benefit of the lessor – which is disputed as to the authority and rights of
        Matthews.
             Matthews does not own the building and it is disputable as to whether Matthews
        has a legal right to lease the building and collect rents in his name. The building is
        owned by a former non-profit registered Alabama corporation, Bo Matthews Center of
        Excellence; that has since lost its non-profit status and no longer is registered. There
        are issues of property tax due to the State of Alabama, Madison County and the City of
        Huntsville; as well as existing tax liens of the Federal Government from as far back as
        2012 for unpaid employer taxes. Under Alabama business law, the nonprofit
        corporation is nonexistent and due to be dissolved. Property (real and personal) is due
        to be sold and debts paid; or may be given to another nonprofit. But, no property may
        be taken or returned to an individual – and does not belong to Matthews.
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                 Thus Matthews is not entitled to claim the property, nor is he entitled to claim any
          authority to dispose of the property in any way inconsistent with nonprofit corporate
          law – nor may he take assets and use for his personal profit.


                                  AMENDED COUNTERCLAIM
        The District Court provides a form for filing an Answer to an Unlawful Detainer, PS-01
 Answer to Landlord’s Claim, which was completed pro se by Barbara Edwards and included her
 typed and signed Answer with a final paragraph stating she “wished” to file a Counterclaim for
 $122,000 plus interest and an exhibit itemizing expenses rendered toward the repair to the
 building. This was not heard in District Court, but the District Court issued an Order denying all
 requested relief.
        Edwards herein incorporates the counterclaim for the $122,000 plus is amending to
 include additional counts as follows:
        1.       Unjust Enrichment - $122,000 plus interest and additional expenses paid for
             the repair to the building since October, 2020.
                 The building leased to Edwards has been increased in value as a direct and
             proximate result of the repairs made by Edwards and paid for by Edwards that were
             required for certification of occupancy and licensing. Edwards was required under
             terms of lease to use Matthews named contractor. The building had a leaking
             roof that resulted in structural damage to the interior; and has been recommended to
             be replaced rather than repaired and which was under terms of the lease the
             responsibility of Matthews. The exterior plumbing and interior plumbing did not
             function when Edwards took possession and had to be put in working order. Interior
             doors where used for exterior ingress and egress and did not meet code. Windows
             were broken and hidden by curtains and stored objects. The heating and air
             conditioners were broken and in some instances parts were removed and were not
             functional. Exterior concrete was broken. Fences and gates were rusted to non-
             functional and had to be replaced. Walls were infested with termites. Hot water
             heater did not function. Electrical wires were improper as was the electrical
             main box. There was no telephone service nor internet. Appliances did not operate
             and had to be replaced in kitchen.
                  Matthews was always made aware of problems and eventually refused to make
             the repairs. Edwards was stuck with a lease and monthly payments which she had
             to pay and could not get a occupancy license due to the condition of the building.
             Edwards was forced to make the repairs as a result of Matthews failure to provide
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             the necessary repairs; and after Matthews assurance the building was in move in
             condition and ready to open as a daycare.
             WHEREFORE, Edwards respectfully requests this Honorable Court to cause
 Matthews and Barbara Matthews to respond to this Countercomplaint and for a trial by jury, with
 afterwards a judgment rendered in Edwards favor as to the unjust enrichment. And, that
 Edwards be awarded compensatory damages to include the $122,000 requested in the original
 Answer filed in District Court and additional damages which have been incurred since October,
 2020; and that Edwards be awarded reasonable attorney fees and costs in conjunction with this
 cause of action.
        2.        Fraud, Promissory Fraud, and Fraud in the Inducement – Edwards alleges
             Matthews knew the building was in a state of disrepair when he leased the building
             to Edwards and the Daycare and he represented that the building was move in
             condition. Matthews handpicked repairman, Willie W. Peavy, gave an Affidavit to
             Edwards and the Daycare, stating he was present when Matthews made the statement
             that the building was in move in condition; and that Matthews knew the roof leaked,
             the plumbing and toilets did not function properly, air conditioning and heating did
             not work, termites were in the walls and damages were covered up at Matthews
             instruction, electrical failures, and multiple other issues which otherwise prevented
             the building from being licensed for occupancy; and certainly unable to provide
             daycare services. (Ex. 5).
                  Matthews leased the building in his name and not that of Bo Matthews Center
             of Excellence – the legal owner. Barbara Matthews, agent for Bo Matthews Center
             of Excellence and wife of Matthews, represented an adjustment of the monthly rent
             in email to Edwards. And represented an extension of the term of the lease by six
             months in an email to Edwards. Barbara Matthews represented in email to Edwards
             that rent would be adjusted for the repairs paid for by Edwards and failed to allocate
             against rent owed.
                  In reliance on the representations of Matthews and Barbara Matthews, Edwards
             signed a lease obligating her to occupancy and payment of $3,800 per month. Edwards
             could have leased premises without these issues had she known of the issues with the
             property. As a result of her reliance, Edwards signed the lease and later paid for
             extensive repairs, lost income during the period in which she was unable to open the
             daycare, and has suffered time, mentally and emotionally and legal expenses of the
             Unlawful Detainer.


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          WREREFORE, Edwards respectfully requests this Honorable Court for a trial by jury

and upon a verdict in her failure, that Edwards be awarded compensatory and punitive damages

against Matthews and Barbara Matthews in the amount of $1,000,000.00; as well as a

reasonable attorney fee and costs associated with this cause of action.



        Respectfully,



                                       President, Just 4 The Kids




 STATE OF ALABAMA )
 MADISON COUNTY            )


 Before me, on this the   rf-#y of May, 2021,   Paulette Edwards, in her official capacity as

 President of Just 4 the Kinds, and Paulette Edwards, in her capacity as an individual, after having

 been sworn unto oath and properly identified, affixed her signature to this document as having



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                                              / snue 7-
                                              MARI MORRISON quoRO99) (AS84396-167M)
                                              ATTORNEY FOR DEFENDANTS
                                              430 RONNY LANE
                                              SPRINGVILLE, AL 35146
                                              (205) 837-2771
                                              marimorrisonl@gmail.com




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                                 CERTIFICATE OF SERVICE

 I hereby certify on this the 15th day of May, 2021, I have caused to be served a copy of the
 foregoing Verified Amended Answer and Amended Counterclaim on the attorney for the
 Plaintiff using the electronic filing system authorized by the State of Alabama, AlaFile.

                                              /s/ Mari Morrison
                                              Mari Morrison




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                                                                                  47-CV-2020-000096.00
             IN THE CIRCUIT COURT FOR MADISON COUNTY,                       ALABAMA
                                                                                  CIRCUIT COURT OF
                                                                              MADISON COUNTY, ALABAMA
                                                                                 DEBRA KIZER, CLERK
 MATTHEWS, WILLIAM P.,                         )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            ) CASE NO.       CV2020-000096.00
                                               )
 JUST 4 THE KIDS DAYCARE,                      )
 EDWARDS, PAULETTE,                            )
                                               )
        Defendants.                            )

                      MOTION TO ADD INDISPENCIBLE THIRD PARTY

        COME NOW the Defendants, JUST 4 THE KIDS DAYCARE (hereinafter “Daycare”)
 and PAULETTE EDWARDS (hereinafter “Edwards”) and move to add BARBARA
 MATTHEWS as a necessary party in the above-styled cause of action, and in support thereof
 states as follows:
 1.     Barbara Matthews is the wife of Plaintiff William P. Matthews (hereinafter “Matthews”).
 2.     Barbara Matthews name is listed on the lease made the subject matter of a lawsuit filed
        by Matthews against the Daycare and Edwards.
 3.     The property that is the subject matter of this lawsuit is legally owned by the Bo
        Matthews Center for Excellence, a defunct Alabama nonprofit organization.
 4.     Barbara Matthews conducted business on behalf of Matthews and herself with the
        Daycare and Edwards, and in doing so made numerous representations to the Daycare
        and Edwards in conjunction with the real property that is the subject matter of this
        lawsuit.
 6.     Barbara Matthews held herself out to the Daycare and Edwards as being the authorized
        agent of Matthews and conducted a business relationship with the Daycare and Edwards
        at all times during the relevant period considered in this cause of action.
 7.     Matthews instructed the Daycare and Edwards to contact Barbara Matthews regarding
        relevant issues involving the real property made the subject matter of this lawsuit.
 WHEREFORE, the Daycare and Edwards respectfully requests this Honorable Court to cause
 Barbara Matthews to become a Plaintiff as a necessary party in the lawsuit and to respond by
 Answer to the Countercomplaint as separately filed with this cause of action.


        Respectfully,




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                                            /s/ Mari Morrison
                                            Mari Morrison (MOR099)
                                            Attorney for Defendants
 Mari Morrison, Attorney at Law
 430 Ronny Lane
 Springville, AL 35146
 Telephone: (205) 837-2771
 Email: marimorrison1@gmail.com

                                CERTIFICATE OF SERVICE

 I hereby certify that on May 15, 2021, the foregoing was filed with the clerk of the
 Circuit court, and concurrently, the same was served on the attorney for William P. Matthews
 using the electronic filing system, Alafile.

                                             /s/ Mari Morrison




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                                                                 CIRCUIT COURT OF
                                                             MADISON COUNTY, ALABAMA
                                                                DEBRA KIZER, CLERK




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 5




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                                      AlaFile E-Notice




                                                                        47-CV-2020-000096.00


To: LOCKWOOD CHRISTOPHER LEA
    clockwood@wilmerlee.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

                    WILLIAM P MATTHEWS V JUST 4 THE KIDS DAYCARE ET AL
                                   47-CV-2020-000096.00

                      The following answer was FILED on 6/3/2021 12:01:17 PM




    Notice Date:    6/3/2021 12:01:17 PM




                                                                             DEBRA KIZER
                                                                    CIRCUIT COURT CLERK
                                                                MADISON COUNTY, ALABAMA
                                                                MADISON COUNTY, ALABAMA
                                                                   100 NORTHSIDE SQUARE
                                                                     HUNTSVILLE, AL, 35801

                                                                                256-532-3390




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                                                                                 47-CV-2020-000096.00
                                                                                 CIRCUIT COURT OF
                                                                             MADISON COUNTY, ALABAMA
                                                                                DEBRA KIZER, CLERK
            IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

   WILLIAM P. MATTHEWS,                          )
                                                 )
          Plaintiff,                             )
                                                 )
   v.                                            ) Case No.     47-CV-2020-000096.00
                                                 )
                                                 )
   JUST 4 THE KIDS DAYCARE,                      )
   and                                           )
   PAULETTE EDWARDS,                             )
                                                 )
          Defendants.                            )

        PLAINTIFF’S ANSWER TO PAULETTE EDWARDS’ COUNTERCLAIM

          COMES NOW Plaintiff William P. Matthews (“Matthews” or “Plaintiff”) and for

   Answer to the Counterclaim of Defendant Paulette Edwards (“Edwards” or “Defendant”)

   responds as follows:

          1.      Plaintiff denies Edwards’ “counterclaim for compensation in the amount of

   $122,000 plus interest” as stated in her Amended Answer and incorporated by reference in

   Doc. 103 at page 4. Plaintiff also denies Edwards’ claims and assertions regarding some

   alleged increase in value of the property that is the subject of the Commercial Lease signed

   by Edwards in August 2018 that Edwards asserts are related to repairs allegedly made by

   Edwards. Plaintiff denies Edwards’ allegations about repairs. Plaintiff denies Edwards’

   allegations of the property’s supposed unsatisfactory condition. Plaintiff denies that he

   refused to make needed repairs to the property at 4000 Pulaski Pike. Plaintiff denies all

   remaining allegations in Paragraph 1 of the Counterclaim, entitled “Unjust Enrichment,”

   and Plaintiff demands strict proof thereof.

          2.      In response to Edwards’ Counterclaims, Plaintiff responds further that:




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          a.      Paulette Edwards and her business, Just 4 The Kids Daycare, entered into a

   written commercial business lease in 2018 to use commercial property to operate Ms.

   Edwards’ business. (Exhibit 1).

          b.      The only right to possession that Edwards or Just 4 The Kids Daycare had

   or has to the premises at Pulaski Pike arises out of that Commercial Lease that Ms. Edwards

   signed on May 28, 2018 (the “Commercial Lease”).

          c.      Edwards applied for Paycheck Protection Protection loans to help pay her

   twelve employees and an Emergency Economic Injury Disaster Loan for rental assistance,

   and she was approved for and received a PPP loan for $19,000 in April of 2020 and another

   loan in January, up to 25% of which she could have used for rent, in addition to her for

   payroll.

          d.      Edwards did not timely pay the full amount of the rent payments that the

   Commercial Lease called to be made when they were called to be paid.

          e.      Despite the fact that all the full amount of the rent payments that the

   Commercial Lease called to be made were not made when they were called to be paid, and

   despite the fact that the Commercial Lease was properly and lawfully terminated pursuant

   to the Commercial Lease provisions as a result of the Defendants’ breach of the

   Commercial Lease provisions, Defendants still occupy the premises where they operate a

   business.

          f.      Defendants do not live at the premises, and the Commercial Lease is not a

   residential lease; instead it is a lease of commercial property for commercial use by

   Edwards’ business. Specifically the Commercial Lease provides:




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   (Exhibit 1, Commercial Lease, para. 2).

          g.      Defendants do not have the authority under the Commercial Lease to

   sublease to others. Defendants do not have the authority under the Commercial Lease to

   let other companies or persons occupy or use the premises. Specifically, in addition to the

   provisions of paragraph 2 of the Commercial Lease above, the Commercial Lease also

   provides:




   (Exhibit 1, Commercial Lease, para. 6).

          h.      However, Defendants have permitted others to occupy the premises in

   violation of the Commercial Lease.

          i.      After Defendants’ default with respect to terms of the Commercial Lease,

   including but not limited to failure to pay the full amount of the rent payments that the

   Commercial Lease called to be made when they were called to be paid, Plaintiff served

   Defendants with and Defendants received a 10-day demand letter in October 2020 for

   possession of the premises.

          j.      From October 2020 until today Defendants have continued to occupy the

   premises described in the Commercial Lease and operate their business there.

          k.      The Commercial Lease Defendants signed says it will terminate “on July

   31st 2021.” (Exhibit 1, Commercial Lease, para. 1). Specifically, the Commercial Lease

   provides:




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   (Exhibit 1, Commercial Lease, para. 1).

          l.      Edwards Counterclaims make reference to persons applying for SBA loans

   or grants – PPP loans or grants, or EIDL loans or grants, or both. Neither Bo Matthews,

   nor Barbara Matthews, nor the Bo Matthews Center of Excellence applied for or received

   any PPP loan or grant or EIDL loan or grant.

          m.      Specifically, Plaintiff William P. “Bo” Matthews never applied for and he

   never received a PPP or EIDL loan or grant, whether using the Pulaski Pike address or not.

   He did not apply for or receive any such loan or grant. Nor did Barbara Matthews or the

   Bo Matthews Center of Excellence.

          3.      Among other things, Edwards’ claim of “unjust enrichment” is due to be

   dismissed because Matthews was not unjustly enriched at Edwards’ expense. Unjust

   enrichment occurs when “retention of a benefit would be unjust [because] ‘(1) the donor

   of the benefit... acted under a mistake of fact or in misreliance on a right or duty, or (2) the

   recipient of the benefit ... engaged in some unconscionable conduct, such as fraud,

   coercion, or abuse of a confidential relationship. In the absence of mistake or misreliance

   by the donor or wrongful conduct by the recipient, the recipient may have been enriched,

   but he is not deemed to have been unjust1y enriched.’” Wyeth, Inc. v. Blue Cross & Blue

   Shield of Alabama, 42 So. 3d 1216, 1223 (Ala. 2010) (quoting Mantiply v. Mantiply, 951

   So. 2d 638, 655 (Ala. 2006)).




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          Here Edwards did not act under a mistake of fact or in misreliance on a right or

   duty. The parties had a written contract that governed their relationship. Edwards agreed

   in the Commercial Lease that parties signed on May 29, 2018 that “the premises [were] in

   good order and repair, unless otherwise indicated herein.” (Exhibit 1, para. 3). The

   Commercial Lease provides that Defendants will maintain the premises in good and safe

   condition at their own expense. (Id.). Edwards could not have acted under a mistake of

   fact or misreliance on a right or duty because in signing the Commercial Lease she

   acknowledged that the premises were in good order and repair and she failed to

   contemporaneously indicate otherwise. Moreover, Edwards also agreed to maintain the

   premises at her own expense.

          Additionally, at no point did Matthews engage in unconscionable conduct. Any

   repairs Edwards made to the building were made freely and willingly of her own accord,

   as agreed to in the Commercial Lease, and not induced, encouraged, or endorsed by

   Matthews. Even if Matthews was enriched by Edwards’ repairs to the building, he cannot

   be deemed “unjustly enriched” because Edwards did not act under a mistake of fact or

   reliance on a right or duty and Matthews never engaged in unconscionable conduct.

   Edwards knew that any lessee repairs or changes would become part of the leased property

   under the terms of the Commercial Lease.

          Further, Edwards fails to assert a valid claim for damages. “[N]o ... restitutionary

   award may be had unless there has been some unjust enrichment.... [I]n order to recover, it

   is incumbent upon the plaintiff, not only to establish the existence of the unjust enrichment,

   but to establish also the reasonable value of the services rendered.” Autery v. Pope, 260

   So. 3d 846, 850–51 (Ala. Civ. App. 2018) (quoting Utah Foam Prods., Inc. v. Polytec, Inc.,




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   584 So. 2d 1345, 1351 (Ala. 1991)). “‘The amount of the recovery [on a claim of unjust

   enrichment] is limited to the value of the benefit gained by the defendant, regardless of the

   extent of the detriment to the plaintiff.’” Autery v. Pope, 260 So. 3d 846, 850–51 (Ala.

   Civ. App. 2018) (quoting American Family Care, Inc. v. Fox, 642 So. 2d 486, 488 (Ala.

   Civ. App. 1994).

          Edwards fails to both establish the existence of unjust enrichment and assert the

   value of any benefit gained by Matthews. Edwards instead asserts the amount she alleges

   she spent on repairs to the building, when the correct amount of any restitution damages is

   limited to the value actually gained by Matthews, regardless of how much Edwards paid

   for repairs. Edwards cannot satisfy the elements of unjust enrichment and she fails to assert

   a valid amount for damages. Therefore, Edwards’ unjust enrichment claim is due to be

   dismissed.

          Finally, the Commercial Lease provides that it is the entire agreement of the parties

   regarding the subject matter of Edwards’ leasing of the property:




   (Exhibit 1, Commercial Lease, para. 22).

          The Commercial Lease provides:




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   (Exhibit 1, Commercial Lease, paras. 2, 3, and 4).

           Any allegations Edwards purports to make regarding what was to be done with

   respect to repairs and work on the property that are contrary to the terms of the Commercial

   Lease in that regard are barred by both the parole evidence rule and by the terms of the

   parties’ contract.

           4.      Plaintiff denies the material allegations of Paragraph 2 of Edwards’

   Counterclaim, entitled “Fraud, Promissory Fraud, and Fraud in the Inducement,” and

   Plaintiff demands strict proof thereof. Edwards’ fraud claims fail to state claims upon

   which relief can be granted. Moreover, they are time barred as they arise out of acts and

   omissions that occurred in 2018, more than two years ago.

           5.      Among other things, Count Two of Edwards’ Counterclaim fails because

   Edwards has failed to state allegations of Fraud with particularity as required by Rule 9(b).

   When a pleader claims any type of fraud, “the rule of generalized notice pleading is

   qualified by Rule 9(b).” See generally Bethel v. Thorn, 757 So. 2d 1154, 1158 (Ala. 1999).

   Rule 9(b) provides that “[i]n all averments of fraud or mistake, the circumstances

   constituting fraud or mistake shall be stated with particularity.” Ala. R. Civ. P. 9(b).

   Though the conditions of the mind of a person may be alleged generally, a pleader is

   required to state “[1] the time, [2] the place, and [3] the contents or substance of the false



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   representations, the facts misrepresented, and an identification of what has been obtained.”

   Crum v. Johns Manville, Inc., 19 So. 3d 208, 218 (Ala. Civ. App. 2009) (quoting Robinson

   v. Allstate Ins. Co., 399 So. 2d 288, 290 (Ala.1981)).

          Edwards’ Counterclaim for “Fraud, Promissory Fraud, and Fraud in the

   Inducement” should be dismissed because they do not state the time and place of the false

   representations or the facts misrepresented, nor an identification of what has been obtained.

          First, Edwards’ generalized claims in Count 2 do not clearly state as to when or

   where the alleged fraud or misrepresentations were made. The Counterclaim merely

   alleges that Matthews knew of the building’s condition, without stating a time or place

   where the alleged misrepresentation was made. Therefore, Edwards’ Counterclaim does

   not satisfy Rule 9(b)’s particularity requirement, and it should be dismissed.

          Second, Edwards does not identify what Matthews has obtained through the alleged

   fraudulent representations. Edwards asserts that Matthews leased the building under his

   name and not the Bo Matthews Center of Excellence but fails to assert how that has

   benefited Matthews. The Counterclaim merely alleges that Edwards has suffered damages

   as a result of the lawsuit without specifying how Matthews’ alleged fraudulent

   misrepresentations injured her or what he has obtained. (Doc. 103). Because Edwards has

   not stated her claim with particularity pursuant to 9(b), the Edwards’ Counterclaim should

   be dismissed.

          Third, the Court should dismiss Edwards’ promissory fraud claims pursuant to

   Rules 9(b), and 12(b)(6) for failure to plead the fraud with particularity. “Rule 9(b) is an

   exception to the rule set out in Rule 8(a) permitting generalized pleadings.” Phillips

   Colleges of Alabama, Inc. v. Lester, 622 So. 2d 308, 311 (Ala. 1993). “[U]nder Rule 9, for




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   a pleading to state a claim of fraud, ‘[t]he pleading must show [the] time, [the] place, and

   the contents or substance of the false representations, the facts misrepresented, and an

   identification of what has been obtained.’” Bethel v. Thorn, 757 So. 2d 1154, 1158 (Ala.

   1999), citing Lester, 622 So. 2d at 311 (quoting Miller v. Mobile County Board of Health,

   409 So. 2d 420, 422 (Ala. 1981)). See also Robinson v. Allstate Ins. Co., 399 So. 2d 288,

   290 (Ala. 1981) (“The pleader must state the time, the place, the contents or substance of

   the false representations, the fact misrepresented, and an identification of what has been

   obtained.”). Moreover, “[w]here the alleged fraud is ‘predicated upon a promise, it is

   essential that the [pleader allege that the] promisor intended not to perform at the time of

   making the promise.’” Robinson, 399 So. 2d at 290.

          As explained in J & M Associates, Inc. v. Callahan, No. 07-0883-CG-C, 2008 WL

   11389385, at * 7 (S.D. Ala. Nov. 10, 2008), “Rule 9(b) ‘serves an important purpose in

   fraud actions by alerting defendants to the precise misconduct with which they are charged

   and protecting defendants against spurious charges of immoral and fraudulent

   behavior.’” Citing Durham v. Business Management Associates, 847 F.2d 1505, 1511

   (11th Cir. 1988) (internal quotations omitted), Ziemba v. Cascade Int’l, Inc., 256 F.3d

   1194, 1202 (11th Cir. 2001); United States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1359

   (11th Cir. 2006).

          The six elements of promissory fraud are: (1) a false representation; (2) of a

   material existing fact; (3) reasonably relied upon by the plaintiff; (4) who suffered damage

   as a proximate consequence of the misrepresentation; (5) proof that at the time of the

   misrepresentation, the defendant had the intention not to perform the act promised; and (6)




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   proof that the defendant had an intent to deceive. Southland Bank v. A & A Drywall Supply

   Co., Inc., 21 So. 3d 1196 (Ala. 2008).

          As to element (1), the count of the counterclaim does not inform Plaintiff as to the

   representation on which the claim is predicated and why the representation is false.

          As to element (2), the count of the counterclaim does not inform Plaintiff as to the

   material existing fact (as opposed to future event) on which Edwards is alleging there was

   promissory fraud.

          As to element (3), since the counterclaim does not identify the material fact on

   which the allegation of promissory fraud is based, it is likewise void of any explanation of

   how Edwards reasonably relied upon the misrepresented material fact.

          As to element (4), the Counterclaim does not inform Plaintiff as to the damages

   suffered as a proximate consequence of the misrepresentation.

          As to element (5), the Counterclaim does not identify any proof that, at the time of

   the misrepresentation, Plaintiff had the intention not to perform the act promised.

          As to element (6), the Counterclaim does not identify any proof that Plaintiff had

   an intent to deceive. Therefore, the alleged fraud has not been pled with particularity.

          6.      Further, with respect to her fraud claims, Edwards cannot rely on statements

   she alleges in her Counterclaims because the Commercial Lease that the parties signed on

   May 29, 2018 (3 years ago) provides, “Lessee acknowledges that the premises are in good

   order and repair, unless otherwise indicated herein.” (Exhibit 1 hereto, para. 3). Edwards

   agreed in the Commercial Lease that the lessee would maintain the premises in good and

   safe condition at their own expense. (Id.). The executed document provides all the

   representations that Edwards could rely upon, per paragraph 22. Entire Agreement – “The




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   foregoing constitutes the entire agreement between the parties and may be modified only

   by a writing signed by both of the parties.” (Id. at para. 22). Thus, the Commercial Lease

   precludes any suggestion of reasonable reliance by Edwards on statements made before the

   signing of the agreement. Plaintiff did not make the alleged representations set out in

   Edwards’ fraud counterclaims. However, even if arguendo they were made, Edwards was

   not entitled to rely upon them and could not reasonably rely upon them given the terms of

   the parties’ executed agreement. Regardless, the allegations do not state claims upon

   which relief can be granted, they fail to allege fraud with particularity, and they are barred

   by applicable statutes of limitations. Edwards’ promissory fraud claims should be

   dismissed.

                                   AFFIRMATIVE DEFENSES

           Plaintiff sets forth and asserts the following affirmative defenses to Edwards’

       Counterclaim:

       1. Plaintiff denies the material allegations in Edwards’ Counterclaims and demands

   strict proof thereof.

       2. Plaintiff denies that Edwards is entitled to the relief requested.

       3. Edwards’ Counterclaims fail to state a claim upon which relief may be granted.

       4. Edwards’ Counterclaims fail to plead fraud with particularity.

       5. Edwards has not suffered any injury by reason of any act or omission of Plaintiff

   and, thus, does not have any right or standing to assert the claims at issue.

       6. The injuries and damages complained of by Edwards in this case were not caused

   by the actions of Plaintiff.




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       7. The actions of Plaintiff as alleged were not the proximate cause of the damages

   complained of by Edwards.

       8. Edwards has not been damaged as alleged.

       9. To the extend Edwards has been damaged, such damage was caused by and is the

   responsibility of Edwards or others who are not parties to this litigation.

       10. To the extent Plaintiff is liable for any injuries suffered by Edwards, Plaintiff’s

   liability must be reduced under principles of contributory negligence.

       11. Plaintiff is not liable for any injury suffered by Edwards because Edwards assumed

   the risk when she knowingly and voluntarily entered the Commercial Lease.

       12. Edwards’ punitive damages claim does not comply with the requirements of

   applicable state law.

       13. Edwards failed to mitigate her damages by failing to take all reasonable and

   necessary care to minimize their injuries and consequences therefrom.

       14. Edwards’ claims are barred by the applicable statutes of limitations and/or repose.

   Assuming that the building was in unsatisfactory condition, Edwards learned or should

   have learned of this issue prior to signing a lease in 2018 or performing any repairs.

       15. Any contract by and between Plaintiff and Edwards was breached by Defendants.

       16. Edwards’ claims are barred, in whole or in part, by the applicable provisions of any

   agreements between Plaintiff and Defendants.

       17. To the extent that Edwards have suffered any legally cognizable damage or injury,

   such damage or injury was caused by, and is the responsibility of, individuals and/or

   entities other than Plaintiff.

       18. Plaintiff pleads the equitable defense of laches.




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       19. Plaintiff asserts the equitable defense of waiver.

       20. Plaintiff asserts the equitable defense of estoppel.

       21. Plaintiff asserts the equitable doctrine of unclean hands.

       22. Plaintiff says that he has complied with any and all duties, obligations, and/or

   warranties under Alabama law.

       23. Plaintiff pleads the doctrines of set-off and recoupment.

       24. Plaintiff denies that Edwards is entitled to any award of fees, costs, or expenses

   from Plaintiff in this action.

       25. Plaintiff denies any liability to Edwards because he acted in good faith in any and

   all dealings with Edwards.

       26. To the extent that Plaintiff owed a duty to Edwards, such duty was not breached by

   Plaintiff.

       27. Edwards’ claims are barred by the doctrine of consent.

       28. Edwards failed to give notice of breach as required.

       29. Plaintiff pleads lack of cooperation.

       30. Edwards’ claims of fraud, promissory fraud, and fraud in the inducement

   must be dismissed for failure to make the claim within the two-year statute of

   limitations for fraud. The standard for granting a motion to dismiss based upon the

   expiration of the statute of limitations is whether the existence of the affirmative

   defense appears clearly on the face of the pleading. Braggs v. Jim Skinner Ford,

   Inc., 396 So. 2d 1055, 1058 (Ala. 1981).

       “A fraud action is subject to a two-year statute of limitations. Ala. Code 1975,

   § 6–2–38.” Bryant Bank v. Talmage Kirkland & Co., 155 So. 3d 231, 236 (Ala.




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   2014). The parties entered into the Commercial Lease on August 1, 2018. The

   claims of Count Two arise out of facts dating to on or before August 1,

   2018. Edwards raises these claims for the first time on May 15, 2021. It is clear

   on the pleadings that the fraud claims are time-barred as a matter of law. In brief,

   Edwards alleges actions and omissions from 2018 and alleges conditions of the

   subject property at the time of her move in in 2018. Edwards knew or should have

   known of all facts set out in Count Two of Plaintiff's Counterclaim before August

   31, 2018. Thus, Edwards’ fraud claims are barred by applicable statutes of

   limitation.

      31.          At the time this Answer is filed, discovery has not yet been completed and

   thus Plaintiff reserves the right to add such further or supplemental defenses as may be

   warranted by the information developed through discovery.

      32.          To the extent that any of the foregoing allegations in Edwards’

   Counterclaims have not been expressly admitted or denied, they are hereby denied.

            Respectfully submitted this the 3rd day of June 2021.

                                                 WILMER & LEE, P.A.

                                                 /s/ Richard J.R. Raleigh, Jr.
                                                 Richard J.R. Raleigh, Jr. (RAL003)

                                                 /s/ Christopher L. Lockwood
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on June 3, 2021, a copy of the foregoing was filed

   electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

   system to all parties indicated on the electronic filing receipt. Parties may access this filing

   through the Court’s electronic filing system.


                                                          /s/ Richard J.R. Raleigh, Jr.
                                                          OF COUNSEL




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            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 6




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            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
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                     EXHIBIT 7




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                                                                          47-CV-2020-000096.00
                                                                  Judge: CLAUDE E HUNDLEY III
To: RALEIGH RICHARD J. R. JR.
    rraleigh@wilmerlee.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

                     WILLIAM P MATTHEWS V JUST 4 THE KIDS DAYCARE ET AL
                                    47-CV-2020-000096.00

                        The following matter was FILED on 6/30/2021 1:49:09 PM




     Notice Date:    6/30/2021 1:49:09 PM




                                                                               DEBRA KIZER
                                                                      CIRCUIT COURT CLERK
                                                                  MADISON COUNTY, ALABAMA
                                                                  MADISON COUNTY, ALABAMA
                                                                     100 NORTHSIDE SQUARE
                                                                       HUNTSVILLE, AL, 35801

                                                                                  256-532-3390




   Case 21-81371-CRJ7        Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00             Desc Main
                                  Document    Page 122 of 239
                                           DOCUMENT 142
                                                                               ELECTRONICALLY FILED
                                                                                   6/30/2021 1:49 PM
                                                                                 47-CV-2020-000096.00
                                                                                 CIRCUIT COURT OF
                                                                             MADISON COUNTY, ALABAMA
                                                                                DEBRA KIZER, CLERK
             IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA


  MATTHEWS WILLIAM P,                           )
  Plaintiff,                                    )
                                                )
  V.                                            ) Case No.:        CV-2020-000096.00
                                                )
  JUST 4 THE KIDS DAYCARE,                      )
  EDWARDS PAULETTE,                             )
  Defendants.                                   )


                                             ORDER


     This matter is before the Court on Plaintiff's Motion to Lift Stay or in the Alternative Set
 Trial Date, Defendant's Objection to Motion to Lift Stay or in the Alternative Set Trial Date, and
 Defendant's Motion to Dismiss Unlawful Detainer. The parties and their counsels of record were
 present in Court. Having considered the matter, the Court finds as follows:

    1. That since the matter went up on appeal, through June 2021 the Defendant has paid the
       amount required by statute so as to avoid a writ of execution;

    2. That the lease, which is the subject of this matter and was appealed from District Court,
       expires on July 31, 2021;

    3. That said lease has a provision for extension that has not been properly invoked pursuant
       to the agreement of the parties in said lease;

    4. That the Defendant may remain on the premises through June 2021 because the
       Defendant has paid the proper amount;

    5. That if Defendant pays the amount due for the month of July 2021 in a timely manner,
       no writ of execution shall issue;

    6. However, if the Defendant fails to pay the required amount, the Court will consider, upon
       the proper filing, a writ of execution;

    7. That if the Defendant pays through July 2021, the action for Unlawful Detainer shall be
       moot as the lease will have terminated.

 Therefore, the Court orders as follows:

    8. The Motion to Lift Stay is GRANTED, however, a writ of execution shall not issue
       unless the Defendant fails to pay the July, 2021 rent in a timely manner .




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    9. The Motion to Dismiss Unlawful Detainer is DENIED.

        All other issues remain active and will be discussed at a status conference on August 13,
 2021, at 9:00 AM in Room #812 of the Madison County Courthouse, 8th floor.


 DONE this 30th day of June, 2021.

                                              /s/ CLAUDE E HUNDLEY III
                                              CIRCUIT JUDGE




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                               Document    Page 124 of 239
              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 8




Case 21-81371-CRJ7   Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00   Desc Main
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                                         DOCUMENT 2
                                                                            ELECTRONICALLY FILED
                                                                                7/7/2021 6:18 AM
                                                                              47-CV-2021-900838.00
           IN THE CIRCUIT COURT FOR MADISON COUNTY,                     ALABAMA
                                                                              CIRCUIT COURT OF
                                                                          MADISON COUNTY, ALABAMA
                                                                             DEBRA KIZER, CLERK


 JUST 4 THE KIDS DAYCARE and                )
 EDWARDS, PAULETTE,                         )
                                            )
       Plaintiffs,                          )
                                            )
 vs.                                        )       CASE NO. CV-2021-______________
                                            )
 BO MATTHEWS CENTER FOR                     )
 EXCELLENCE,                                )
                                            )
       Defendant.                           )

                                        COMPLAINT

       COME NOW the Plaintiffs, JUST 4 THE KIDS DAYCARE (hereinafter “the Daycare”)
 and PAULETTE EDWARDS (hereinafter “Edwards”) and submit their Complaint against the
 Defendant, BO MATTHEWS CENTER FOR EXCELLENCE (hereinafter “BMCE”) and state
 claims of Quantum Meruit and Money Had and Received.
                               PARTIES AND JURISDICTION
 1.    The Daycare is a business entity registered with the Alabama Secretary of State whose
       registered address is 1011 Parklane Street, Huntsville, AL 35816.
 2.    Edwards is the registered agent for the Daycare and the administrator at the physical
       location where the Daycare provides services, 4000 Pulaski Pike, Huntsville, AL 35810.
 3.    BMCE is registered as a non-profit entity with the Alabama Secretary of State, listing
       Brandi Matthews-Ellis as the registered agent and director replacing Bobby Patton April
       27, 2021. The street address is listed as 4000 Pulaski Pike, Huntsville, AL 35810.
       William P. Matthews is listed as the incorporator. The mailing address is P.O. Box
       17167 Huntsville, AL 35810.
                                    UNDISPUTED FACTS
 4.    On May 29, 2018, Edwards leased property located at 4000 Pulaski Pike, Huntsville, AL
       from the lessors - Bo and Barbara Matthews (William P. Matthews a/k/a Bo Matthews).
 5.    Terms of the lease were specifically for 36 months and due to begin on August 1, 2018
       and payments were to be made monthly in the amount of $3,800.
 6.    Payments were to be made to the “Lessor” (Bo and Barbara Matthews hereinafter
       “Matthews”).
 7.    The “Lessee” (Edwards) was to operate a daycare on the premises.


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 8.    Edwards was unable to take possession of the premises until late February 2019 when
       a certificate of occupancy was approved.
 9.    The property located at 4000 Pulaski Pike, Huntsville, AL is owned by BMCE and was
       acquired from Matthews on December 26, 2001 by a Quit Claim Deed.


                               COUNT I – QUANTUM MERUIT
 10.   Statement 1 through 9 are incorporated herein as if fully set forth.
 11.   Matthews represented to Edwards he was owner of the property prior to executing the
       lease with her and that the building was up to building code for the purpose of use as a
       business (daycare) and was in a move in condition or state.
 12.   The building failed inspections by the Madison County Health Department and the City
       of Huntsville Buildings and Inspection and the Fire Marshall on numerous occasions.
       Thus Edwards and the Daycare were deprived of being able to operate the business. The
       final occupancy permit was dated for the later part of February, 2019.
 13.   The roof leaked, air conditioners did not work, drainage problems existed, toilets and
       other plumbing did not work, water pipes were clogged and broken, no telephone wire
       service or internet availability, windows were broken, interior doors were used for exits,
       mold and mildew was covered by new paint without removal, electrical breaker panel
       was substandard, fire and burglar alarms did not work, asbestos required removal,
       termite damage to walls, in addition to other problems including the kitchen appliances
       which had to be replaced.
 14.   The building was used for storage by Matthews and that property was not removed
       until October 2018, after the proposed 36 month lease inception of August 1, 2018.
 15.   Terms of the lease included Matthews would be responsible for repairs to the heating and
       cooling system when over FIVE HUNDRED DOLLARS ($500.00) and required use of
       Matthews’ authorized “Repair Company”; and “Lessee shall be responsible for all repairs
       required, excepting the roof, exterior walls, structural foundations, and the parking lot,
       which shall be maintained by Lessor.
 16.   Matthews refused to reimburse Edwards and the Daycare has been caused pay ONE
       HUNDRED AND EIGHT THOUSAND, TWO HUNDRED AND FIVE DOLLARS
       AND FORTY-THREE CENTS ($108,205.43) in repairs and maintenance.
 17.   Edwards filed a Mechanics Lien against BMCE in the amount of NINETY-FIVE
       THOUSAND DOLLARS AND NO CENTS ($ 95,000.00) on June 3, 2021 in the
       Madison County Probate Court; and on June 25, 2021 filed another lien in the Madison


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       County Probate Court in the amount of THIRTEEN THOUSAND, TWO HUNDRED
       AND FIVE DOLLARS AND FORTY THREE CENTS ($ 13,205.43).
 18.   BMCE, is the legal owner with deed to property at 4000 Pulaski Pike, Huntsville, AL,
       benefited by the repairs and maintenance which were required by the City of Huntsville
       for the occupancy of the building to occur; and benefited by the repairs and maintenance
       that has increased the value of the building to which the building may now be legally
       leased, rented or occupied, as well as preventing the further devaluation of the property.
       WHEREFORE the Premises Considered, Edwards and the Daycare respectfully requests
       this Honorable Court for a trial by jury and the following order and relief from BMCE:
       a.      An Order for reimbursement of all monies expended toward the repair and
               maintenance of the BMCE real property; and
       b.      Reimbursement for the cost of this action and reasonable attorney fees; and
       c.      For this and any other relief for which the Plaintiff’s may be entitled unto in a
               court of equity.


                       COUNT TWO – MONEY HAD AND RECEIVED
 19.   Paragraphs 1 through 18 are incorporated herein as if set forth in full.
 20.   William P. “Bo” and Barbara Matthews are officers of BMCE.
 21.   BMCE lost their Federal and 501(c)(3) I.R.S. recognition as a non-profit entity when it
       was revoked in 2017 for failure to file the required annual tax filing as well as the failure
       to pay payroll taxes due for prior years. Mathews has operated as if he owns the property
       and disregarded the legal deed belonging to BMCE.
 22.   The I.R.S. has filed two (2) tax liens on the property in the Madison      County     Probate
       Court – which remain unpaid as the money paid by Edwards and the Daycare went to
       Matthews and not BMCE.
 23.   BMCE has failed to correct deficiencies with the Alabama Secretary of State to
       acknowledge the non-profit status change and continues to benefit from the improper
       non-profit status by not paying State and local property tax, as well as business property
       tax. BMCE continues to be registered with the Alabama Secretary of State, although no
       annual business entity filing has been made and paid for since 2012.
 23.   Matthews received monthly lease payments from Edwards and the Daycare totaling
       EIGHTY THREE THOUSAND FIVE HUNDRED AND SEVENTY-SIX DOLLARS
       AND FIFTY-ONE CENTS ($83,576.51) since May 3, 2018 through September 23,
       2020.


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      Edwards has made payments to Matthews as follows:
      5-03-18      $ 1,900.00
      5-29-18      $ 3,800.00
      6-01-18      $ 1,600.00
      8-23-18      $ 2,400.00
      1-09-19        $ 1,900.00
      1-25-19        $ 1,900.00
      1-29-19        $ 1,900.00
      2-08-19        $ 5,700.00
      2-18-19        $ 2,500.00
      2-26-19        $ 3,466.00
      3-01-19      $ 3,800.00
      4-19-19        $ 1,980.51
      5-06-19        $ 1,000.00
      5-13-19        $ 2,800.00
      6-19-19        $ 1,830.00
      7-11-19        $ 2,500.00
      7-16-19        $ 1,300.00
      8-10-19        $ 3,800.00
      9-10-19        $ 3,800.00
      10-8-19        $ 3,800.00
      11-8-19        $ 3,800.00
     12-10-19        $ 3,800.00
      1-10-20      $ 3,800.00
      2-08-20      $ 3,800.00
      3-01-20        $ 3,800.00
      4-01-20        $ 1,800.00
      4-00-20        $ 1,800.00
      5-00-20         $ 900.00
      5-00-20        $ 900.00
      5-00-20        $ 1,900.00
      8-00-20         $ 1,800.00
      9-00-20        $ 1,800.00




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 24.    This money was paid in cash to Matthews or checks that were written out to Matthews as
        per terms of the lease and improperly comingled with Matthews personal money in his
        own personal bank account.
 25.    This money rightfully was due to be paid to BMCE, - Edwards and the Daycare were
        unaware the property was owned by BMCE until the later part of 2020 when Matthews
        filed an Unlawful Detainer action against Edwards and the Daycare in October, 2020.
 26.    Edwards and the Daycare has been denied the leaseholder’s rights of quiet enjoyment of
        the leased premises due to the failure of Matthews to remove storage items until after the
        lease was to have started; unable to move into the business and operate a daycare due to
        the property failing inspections; and in 2020 Matthews sought to start another business in
        the premises and took possession of two classrooms and a conference room for that
        purpose without permission of Edwards; and the legal action of the improper Unlawful
        Detainer has deprived Edwards and the Daycare of the quiet and peaceful occupancy.
 27.    Edwards and the Daycare have also paid a monthly amount of THREE THOUSAND and
        EIGHT HUNDRED DOLLARS and NO CENTS ( $3,800.00) each month for November
        and December 2020, and the same for January, February, March, April, May, June and
        July, 2021 to the Madison County Circuit Court to maintain possession during the appeal
        of the Unlawful Detainer and Counterclaims which were filed by Edwards and the
        Daycare. Total paid to Clerk and on deposit currently: $ 34,200.00.
 WHEREFORE, THE PREMISES CONSIDERED, Edwards and the Daycare respectfully
 requests of this Court for a trial by jury and judgment against BMCE and for the following relief:
        a. An Order to refund all lease or rent money paid to Matthews - $83,576.51; and
        b. An Order to refund payments deposited with the Madison Circuit Court Clerk; and
        c. An Order requiring payment of legal fees and attorney expenses in this matter; and
        d. For this and any and all relief which Edwards and the Daycare may be entitled unto
           in a court of equity.
 TRIAL BY JURY REQUESTED.


 Respectfully,
                                                     /s/    Mari Morrison
                                                     MARI MORRISON (MOR099)
                                                     ATTORNEY FOR PLAINTIFFS
                                                     430 RONNY LANE
                                                     SPRINGVILLE, AL 35146
                                                     (205) 837-2771
                                                     marimorrison1@gmail.com


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Recording requested h}' (name):

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When recorded, mail to (name and address):                         Doc   ID:   024094810003 Type:
                                                                   Filed/Cert:    06/03/202110:
PAULETTE    EDWAF{DS                                               Fee Amt: $30.75 Page 1 of
                                                                   Madison County,AL
P0 BOX 5926                                                        FRANK BARGER Probate Judge
HUNTSVILLE,      AL    35814
                                                                   F||e2o2 1-ooo455


                                                          SPA(`E ABovFj TIIIs I,INF, r`oR REcoRDER's USF,




                                    MECHANIC'S LIEN

 STATE 0F ALABAMA

 COUNTY OF MADISON


1.          Paulette Edwards (the "Claimant"), located at po Box 5926, Huntsville, Alabama 35814,
claims a mechanics lien for the labor or services or equipment or materials described herein,
furnished for a work of improvement on that certain real property located in the County of
Madison, in the State of Alabama. The complete address of the real property on which this
mechanics lien is claimed is: 4000 Pulaski Pike NW, Huntsville, Alabama 35810 (the "Property").
The permanent index identification number of the Property is:      The legal description of the
Property is,

SEC 15 T3S RIW PT OF THE Swl/4 0F THE NE1/4 0F SEC 15 BEG ON THE N R/OAV OF
sTRrNGFIELD RD N 25 FT E 2 I 5.84 FT FR CEN OF sEc I 5 TH N i3.85 FT w 1 12.40 FT
TH ALG INTERS OF STRINGFIELD RD WI PULASKI PIKE N 44 DEG W 84.73 FT TH
ALG E ROW OF PULASKI PK N 1 DEG E 356.43 FT S 86 DEG E 246.50 FT S 16 DEG E
269.68 FT S 2 DEG W 163.50 FT & W 153.06 FT TO POB


2.         The labor or services or equipment or materials were furnished by claimant at the request
of: Just 4 The Kids Daycare, LLC, located at 4000 Pulaski Pike NW, Huntsville, Alabama 35810.


3.         The owner of the Property is: William P. Matthews,located at 1013 Coronado Ave SE,
Huntsville, Alabama 35812.




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4.      On I I/02/2020, the claimant entered into an oral contract with william p. Matthews and
Sub Contractor, Walter Peavy to change and/or upgrade the repairs, roof, termite damage, air
conditioners and heating system, plumbing into the premises, exterior features on said Property
(the "Contract") for the original total sum of $75,000.00, which became due and payable on
05/28/2021, the date of completion of the build and/or proj ect services.


Upon request, the Claimant purchased and provided additional materials and labor for requested
changes and/or upgrades at the total cost of $20,000 00, which became due and payat)le on
05/28/2021, the date of completion of the build and/or project services.

5.       After deducting all just credits and offsets, the sum of $95,000.00 is due to claimant for
the labor or services or equipment or materials provided   The amount due to Claimant is subject
to an interest rate of 10% per annum from 11/02/2020.



                                                 Paulette Edwards
                                                 PO Box 5926
                                                 Huntsville Alabama 35814




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                    NOTARY ACKNOWLEDGMENT
 STATE 0F ALABAMA

 COUNTY 0F MADISON


The Affiant, Paulette Edwards, being duly sworn, on oath deposes and says that s/he is the
Claimant and that s/he has read the foregoing claim for the lien and knows the contents thereof,
and that all statements therein contained are true and correct to the best of his/her belief and
knowledge.

Subscribed and sworn to before me on




                   J, wh`( fe/
 (Notary Printed


 My commission explres on.




                                                                 Filed/Cert: 06/03/2C;2110:20:00     AM
                                                                 Fee Amt: $30.75 Page 3 of 3
                                                                 Madison   County,AL
                                                                 FF}ANK BARGEFI   Probate   iJudae

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Case 21-81371-CRJ7       Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00                Desc Main
                              Document    Page 133 of 239
                                             DOCUMENT 2




Recording requested by (name):


Just 4 The Kids Daycare ,
Paulette Edwards


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                                                              Doc ID:             024171880003 Type:                         LIEN
When recorded, mail to (name and address):                    Filed/Cert:               06/25/202104:12:00                             PM
                                                              Fee Amt:              $30.75 Page 1 of 3
Just 4 The Kids Daycare
PO Box 5926                                                   E3gkROBA88ERt¥+35ate ,udqe

Huntsvi]le, AL 35814                                          File2o21-ooo52828


                                                          SPACE ABOVE THIS LINE FOR RECORDER'S USE




                                  MECHANIC'S LIEN

 STATE OF ALABAMA

 COUNTY 0F MADISON


1.       Just 4 The Kids Daycare, Paulette Edwards (the "Claimant"), located at po Box 5926,
Huntsville, Alabama 35814, claims a mechanics lien for the labor or services or equipment or
materials described herein, furnished for a work of improvement on that certain real property
located in the County of Madison, in the State of Alabama. The complete address of the real
property on which this mechanics lien is claimed is: 4000 Pulaski Pike NW, Huntsville, Alabama
35810 (the "Property"). The permanent index identification number of the Property is: The legal
description of the Property is:

 SEC 15 T3S RIW PT OF TIH SW 1/4 0F TIE NE1/4 0F SEC 15 BEG ON TEE N R/OAV OF
 STRINGFIELD RD N 25 FT E 215.84 FT FR CEN OF SEC 15 TH N 13.85 FT W 112.40 FT
 TH ALG INTERS OF STRINGFIELD RD WI PULASKI PIKE N 44 DEG W 84.73 FT TH
 ALG E ROW OF PULASKI PK N 1 DEG E 356.43 FT S 86 DEG E 246.50 FT S 16 DEG E
 269.68 FT S 2 DEG W 163.50 FT & W 153.06 FT TO POB


 2.       The labor or services or equipment or materials were furnished by claimant at the request
 of: Just 4 The Kids Daycare, LLC, located at 4000 Pulaski Pike NW, Huntsville, Alabama 35810.


 3.       The owner of the property is: BO Matthews center ofExcellence and william p. Matthews,
 who claims to be the owner located at 1013 Coronado Ave SE, Huntsville, Alabama 35812.




Case 21-81371-CRJ7         Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00                                                  Desc Main
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                                           DOCUMENT 2




4.      At the beginning of services, the claimant entered an oral contract to roof repairs, termite
damage, air conditioners and heating system, plumbing into the premises, exterior features on said
Property (the "Invoiced") for the original total sum of $8,205.43, which became due and payable
on 06/24/2021` the date of completion of the build and/or project services.

Upon request, the Claimant purchased and provided additional materials and labor for requested
changes and/or upgrades at the total cost of $5,000.00, which became due and payable on
06/24/2021, the date of completion of the build and/or project services.

5.       After deducting all just credits and offsets, the sum of $13,205.43 is due to claimant for
the labor or services or equipment or materials provided. The amount due to Claimant is subject
to an interest rate of 10% per annum from 05/31/2021.



                                                 Pau]ette Edwards
                                                 PO Box 5926
                                                 Huntsville Alabama 35814




                                                 Paulette Edwards
                                                 Just 4 The Kids Daycare




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                                            DOCUMENT 2




                        NOTARY ACKNOWLEDGMENT
 STATE 0F ALABAMA

 COUNTY 0F MADISON


The Affiant, Just 4 the Kids Daycare Rep. Paulette Edwards, being duly sworn, on oath deposes
and says that s/he is the Claimant and that s/he has read the foregoing claim for the lien and knows
the contents thereof, and that all statements therein contained are true and correct to the best of
his/her belief and knowledge.

Subscribed and sworn to before me on




 (Notary Printed Nain
                                      i-:. _,_ ..-- i-: :` --+--. :` -i
 My commission expires on:




                                                                          FF¥ii;}i#;§%GZ¥5;i:a;:e;3j;:i;322°;;8




Case 21-81371-CRJ7        Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00                        Desc Main
                               Document    Page 136 of 239
              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                     EXHIBIT 9




Case 21-81371-CRJ7   Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00   Desc Main
                          Document    Page 137 of 239
                                      AlaFile E-Notice




                                                                         47-CV-2021-900838.00
                                                                          Judge: D. ALAN MANN
To: RICHARD J.R. RALEIGH JR.
    rraleigh@wilmerlee.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

         JUST 4 THE KIDS DAYCARE ET AL V. BO MATTHEWS CENTER FOR EXCELLENCE
                                  47-CV-2021-900838.00

                       The following matter was FILED on 7/20/2021 5:10:15 PM

                         D001 MATTHEWS BO CENTER FOR EXCELLENCE
                                       MOTION TO DISMISS
                                 [Filer: RALEIGH RICHARD J. R. JR.]


    Notice Date:    7/20/2021 5:10:15 PM




                                                                              DEBRA KIZER
                                                                     CIRCUIT COURT CLERK
                                                                 MADISON COUNTY, ALABAMA
                                                                 MADISON COUNTY, ALABAMA
                                                                    100 NORTHSIDE SQUARE
                                                                      HUNTSVILLE, AL, 35801

                                                                                 256-532-3390




   Case 21-81371-CRJ7       Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00             Desc Main
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                                                                               DOCUMENT 18
                                                                                                                       ELECTRONICALLY FILED
                                                                                                                           7/20/2021 5:10 PM
STATE OF ALABAMA                                                  Revised 3/5/08                             Case No.    47-CV-2021-900838.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
47-MADISON                                                        District Court       Circuit Court                 MADISON COUNTY, ALABAMA
                                                                                                             CV202190083800
                                                                                                                        DEBRA KIZER, CLERK
                                                                                                CIVIL MOTION COVER SHEET
JUST 4 THE KIDS DAYCARE ET AL V. BO                                                Name of Filing Party:D001 - MATTHEWS BO CENTER FOR
MATTHEWS CENTER FOR EXCELLENCE                                                                          EXCELLENCE


Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 RICHARD J.R. RALEIGH JR.
 100 WASHINGTON STREET
 HUNTSVILLE, AL 35801
Attorney Bar No.: RAL003

                                                                            TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                          ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
                                                                                             Protective Order
                                                                                             Quash
                                                                                             Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                            Other         Motion to Dismiss
                                                                                          pursuant to Rule Ala R. Civ P                  (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                    Date:
                                                                                                             /s/ RICHARD J.R. RALEIGH JR.
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
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of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
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                                                                                   CIRCUIT COURT OF
                                                                               MADISON COUNTY, ALABAMA
                                                                                  DEBRA KIZER, CLERK
             IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

 JUST 4 THE KIDS DAYCARE, and
 PAULETTE EDWARDS,

        Plaintiffs,
                                                      Case No. CV-2021-900838.00
 v.

 BO MATTHEWS CENTER FOR
 EXCELLENCE,

        Defendant.


                                    MOTION TO DISMISS

        COMES NOW Defendant, by and through the undersigned counsel of record, and

 respectfully moves to dismiss Plaintiffs’ claims. As grounds therefor, Defendant states as

 follows:

        1.      Plaintiffs failed to serve Defendant as required by Alabama Rule of Civil

 Procedure 4(c)(6), and Plaintiffs’ claims are therefore due to be dismissed pursuant to Alabama

 Rules of Civil Procedure 12(b)(4) and (5).

                a.     This is a motion to dismiss a lawsuit that is related to the lease and

 possession by Plaintiffs of a commercial business property located at 4000 Pulaski Pike NW,

 Huntsville, Alabama 35810, but Plaintiffs have failed to properly serve Defendant, a corporation.

                b.     Alabama Rules of Civil Procedure 4(c)(6) provides the means for serving

 a corporation, like Defendant:

        Upon a domestic or foreign corporation or upon a partnership, limited partnership,
        limited liability partnership, limited liability company, or unincorporated
        organization or association, by serving an officer, a partner (other than a limited
        partner), a managing or general agent, or any agent authorized by appointment or
        by law to receive service of process.




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                c.      Plaintiffs did not serve the Summons and Complaint on any person,

 Plaintiffs or their process server threw a copy of a Summons and Complaint (but not Plaintiffs’

 motion for a preliminary injunction and temporary restraining order) in Brandi Matthews-Ellis’s

 car window. Service of process is improper and failed because it was haphazardly thrown into

 an unoccupied car. Obviously, the individual’s car is not their “usual place of abode”, even if a

 corporation’s agent could be served at their place of abode. In short, service of process on the

 Defendant, a corporation, is invalid.

                d.      Exhibit 2 attached hereto are the papers that were thrown into the window

 of Brandi Matthews-Ellis.

                e.      Plaintiffs never provided to Defendant, even by throwing it through a slot

 in an unoccupied car window, Plaintiffs’ motion for a preliminary injunction and temporary

 restraining order. Plaintiffs has violated Alabama Rule of Civil Procedure 4 by failing to serve

 Doc. 6.

                f.      The service of process attempted by Plaintiffs does not meet the standards

 of Due Process requiring notice to be reasonably calculated under all circumstances to provide

 parties of notice of the pending action. Since the papers were thrown into an occupied vehicle

 and did not contain all pleadings, not only have the Alabama Rules of Civil Procedure been

 violated, but Due Process has been trampled over by Plaintiffs.

           2.   Plaintiffs have failed to join parties need for just adjudication, Alabama Rule of

 Civil Procedure 19, and Plaintiffs’ should be dismissed therefore pursuant to Alabama Rule of

 Civil Procedure 12(b)(7). As explained hereinbelow, Plaintiffs already make many (if not all) of

 the same claims and allegations in the first filed case, William P. Matthews v. Just 4 The Kids

 Daycare and Paulette Edwards, Case No. 47-CV-2020-000096.00-CEH, which involves




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 William P. Matthews, the person Plaintiffs claim in this case that they paid lease payments to.

 Plaintiffs should be required to bring these claims in that earlier filed action. But, if not, then

 Plaintiffs’ claims here should be dismissed for failure to join persons needed for just adjudication

 pursuant to Alabama Rule of Civil Procedure 12(b)(7). “It is the plaintiff’s duty under [Rule 19]

 to join as a party anyone required to be joined.” Ex parte Advanced Disposal Servs. S., LLC, 280

 So. 3d 356, 360 (Ala. 2018), citing Holland v. City of Alabaster, 566 So. 2d 224, 226 (Ala.

 1990).

           3.   Plaintiffs’ claims are due to be dismissed pursuant to Alabama Rule of Civil

 Procedure 12(b)(6) for failure to state a claim upon which relief can be granted because:

                a.      Plaintiffs’ claim for quantum meruit alleges that other parties performed

 work, not that the Plaintiffs’ themselves performed services, and thus their claims fail as a matter

 of law.

                        (1)      “It is the settled law of this State that where one knowingly accepts

 services rendered by another, and the benefit and the result thereof, the law implies a promise on

 the part of the one accepting with knowledge the services rendered by another to pay the

 reasonable value of such services rendered.” Mantiply v. Mantiply, 951 So. 2d 638, 656 (Ala.

 2006), citing Hendrix, Mohr & Yardley, Inc. v. City of Daphne, 359 So. 2d 792, 795 (Ala.1978).

 “In order to succeed on a claim based on a theory of quantum meruit, the plaintiff must show that

 it had a reasonable expectation of compensation for its services.” Mantiply v. Mantiply, 951 So.

 2d 638, 656 (Ala. 2006), citing Utah Foam Prods., Inc. v. Polytec, Inc., 584 So.2d 1345

 (Ala.1991). However, Plaintiffs have alleged that others, not themselves, performed services.

 Doc. 2, Complaint. Plaintiffs fail to state a claim for quantum meruit.




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                         (2)      Furthermore, “[w]hen an express contract exists, an argument

 based on a quantum meruit recovery in regard to an implied contract fails.” Mantiply v.

 Mantiply, 951 So. 2d 638, 656 (Ala. 2006), citing Brannan & Guy, P.C. v. City of Montgomery,

 828 So. 2d 914, 921 (Ala.2002). “The existence of an express contract on a given subject

 generally excludes an implied agreement on the same subject.” Vardaman v. Florence City Bd.

 of Educ., 544 So. 2d 962 (Ala. 1989). As alleged in Plaintiffs’ own Complaint, a contract exists

 with respect to the claims Plaintiffs make in this case – the Commercial Lease referenced in the

 Complaint and attached hereto as Exhibit 1.

                 b.      Plaintiffs have failed to comply with the provisions of Alabama Code §

 35-11-210 et. seq., Alabama’s mechanic’s lien statute.

                         (1)      Plaintiffs have failed to comply with the provisions of Alabama

 Code § 35-11-210 et. seq., Alabama’s mechanic’s lien statute, including Plaintiffs’ failure to

 provide notice of intent to claim a lien (and failure to allege such notice was given), failure to

 serve Defendant with copies of the filed liens, and failure to comply with the time periods set for:

 (a) filing a notice of intent to claim a lien, (b) filing the liens, and (c) filing suit to enforce the

 liens.

                         (2)      With respect to the claimed liens, Plaintiffs were not the mechanics

 or materialmen. They were not the ones who performed the work - they are not contractors or

 subcontractors, and therefore they lack standing to file a lien under the provisions of Alabama

 Code § 35-11-210 et. seq., Alabama’s mechanic’s lien statute.

                 c.      Plaintiffs are not licensed contractors. Plaintiffs demand payment for

 work, but are unlicensed and thus may not recover as a matter of law. “It is well settled that

 ‘[e]xpress or implied contracts entered into by an unlicensed general contractor are null and void




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 because they violate public policy.’” White v. Miller, 718 So.2d 88, 89 (Ala. Civ. App.1998),

 quoting Goodwin v. Morris, 428 So. 2d 78, 79 (Ala. Civ. App.1983). Therefore, Plaintiffs’

 claims are due to be dismissed for failure to state a claim upon which relief can be granted.

                d.       Plaintiffs had no permits to perform work described in Plaintiffs’

 Complaint.

                e.       Plaintiffs did not have permission to perform the work or have it

 performed, and to the extent they or others at their direction performed work, the Commercial

 Lease Plaintiffs’ entered into (attached hereto as Exhibit 1) made the Plaintiffs responsible for

 the costs themselves:




 (Exhibit 1, Commercial Lease, paras. 2, 3, and 4).

                f.       Plaintiffs do not have a contract with Defendant to perform construction

 on the property.

                g.       Pursuant to the Commercial Lease attached hereto as Exhibit 1, Plaintiffs

 have merely a leasehold interest in the property described therein and in the Complaint.

                h.       The person, persons, or entities who are alleged to have performed work

 or provided materials described in the complaint have no privity of contract with Defendant and

 they have not complied with any of the provisions of Alabama Code § 35-11-210 et. seq.,

 Alabama’s mechanic’s lien statute.



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                i.      Although Plaintiffs bring suit in each of their names, the attachments to

 the Complaint (the “Mechanic’s Lien” documents) only assert that Plaintiff Paulette Edwards is a

 claimant of a lien.

                j.      Plaintiffs’ claims are barred by res judicata and / or collateral estoppel.

 This case is associated with a previously filed case, where Plaintiffs are defendants and have

 raised claims related to the same work described in this case and claims $122,000 plus interest

 and expenses paid for “repairs to the building” and other relief. See Doc. 103, filed May 15,

 2021, William P. Matthews v. Just 4 The Kids Daycare and Paulette Edwards, Case No. 47-CV-

 2020-000096.00-CEH. The other case, Case No. 47-CV-2020-000096.00-CEH, was the first

 filed case. This case should be dismissed; but if not, then in the alternative, at the very least,

 Plaintiffs claims should be consolidated and joined with the first filed case.

        4.      Plaintiffs’ claims for quantum meruit are untimely and barred by the applicable

 statutes of limitations. Plaintiffs make claims for quantum meruit (Complaint, Count One) and

 money had and received (Complaint, Count Two). See Doc. 2. The applicable statute of

 limitations for quantum meruit is three years. White v. Sikes, Kelly, Edwards & Bryant, P. C.,

 410 So. 2d 66, 69 (Ala. Civ. App. 1982); Ala. Code § 6-2-37. According to Plaintiffs’

 Complaint, their claims date back to the date of the signing of the Commercial Lease, Exhibit 1

 hereto, which was 2018, and Plaintiffs claim they made payments dating back to May 2018.

 Plaintiffs brought their claims untimely and they are due to be dismissed.

        5.      The mechanic’s liens attached to Plaintiffs’ Complaint were improperly filed with

 the Madison County Probate Court, and Plaintiffs improperly bring claims related to these

 alleged liens here.




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                a.      Pursuant to Alabama Code § 35-11-210, a party without a contract with

 the owner of the property seeking enforcement of a mechanic’s lien must first provide proper

 notice to the owner before filing the lien with the Probate Court.

                b.      Alabama Code § 35-11-218 also states that every person, except the

 original contractor, seeking enforcement of a lien must send notice setting forth the amount, for

 what, and from whom it is owing.

                c.      Plaintiffs own allegations establish there was no contract between

 Defendant and Plaintiffs. Complaint ¶ 4. Plaintiffs allege they leased commercial property

 pursuant to the Commercial Lease, Exhibit 1. Whereas Plaintiffs allege they contracted with

 William P. Matthews, Complaint ¶ 4, with respect to the lease of the commercial property,

 Plaintiffs allege that Defendant is the owner of the property that is the subject of Plaintiffs’

 alleged repairs, Complaint ¶ 18.

                d.      Defendant never received any notice from any of the Plaintiffs or their

 counsel of a potential mechanic’s lien, including those attached to Plaintiffs’ Complaint.

                e.      Because, even according to Plaintiffs own allegations in their Complaint,

 there was no contract between Defendant and Plaintiffs, Plaintiffs were required to provide

 notice of their intent to file a mechanic’s lien in Probate Court. Plaintiffs never sent any such

 notice and Defendant never received any such notice. Thus, Plaintiffs are in violation of

 Alabama Code § 35-11-210, and the liens should be dismissed, as well as Plaintiffs claims

 related to the repairs as set forth in the Complaint.

                f.      There was never proper notification of an intent to file a mechanic’s lien

 in the Probate Court, but even if there was then Plaintiffs could not enforce the lien because they

 were not the ones providing the labor or materials. Plaintiff Paulette Edwards is the “Claimant”




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 listed in the liens attached to Plaintiffs’ Complaint. Plaintiff Just 4 The Kids Daycare is not

 listed in the liens as a claimant. However, neither plaintiff provided the alleged services or repair

 work.

                g.      Alabama Code § 35-11-210 provides that any person “who shall do or

 perform any work, or labor upon, or furnish any material” has the right to enforce a mechanic’s

 lien when they are not paid. The purpose of Alabama Code § 35-11-210 is to provide a

 mechanic, who has expended labor or materials on the property, a prior right of satisfaction by

 giving the mechanic an interest in the property in the event they are not paid by the owner.

 Wilkinson v. Rowe, 98 So. 2d 435, 436 (Ala. 1957). Plaintiffs never made improvements on the

 property through their own labor. Any alleged repairs or improvements were made by a hired

 contractor. Because Plaintiffs never used any of their own labor to work on the property, they

 have no right to enforce a mechanic’s lien pursuant to Alabama Code § 35-11-210. And, any

 rights Plaintiffs have related to repairs and improvements arise, if at all, under the Commercial

 Lease, Exhibit 1, and Plaintiffs allege that Defendant is not a party to the Commercial Lease.

 Thus, Plaintiffs’ claims are due to be dismissed for failure to state a claim upon which relief can

 be granted.

                h.      Plaintiffs were also not authorized to make any improvements themselves

 or through a contractor pursuant to the Commercial Lease. See Exhibit 1. Paragraph 4 entitled

 “ALTERATIONS” provides that, “Lessee shall not, without first obtaining the written consent of

 Lessor, make any alterations, additions, or improvements in, or about the premises.” There was

 no written consent from the Defendant, or from William P. Matthews, to allow Plaintiffs to make

 any sort of improvements or alterations to the building. Without written consent, Plaintiffs are in

 violation of the Commercial Lease and cannot enforce a mechanic’s lien even if the work was




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 done by themselves. Moreover, the Commercial Lease makes clear that any right Plaintiffs may

 have must flow through the contract they entered into with respect to the property, since the

 Commercial Lease provides that it is the entire agreement of the parties regarding the subject

 matter of Plaintiffs’ leasing of the property:




        (Exhibit 1, Commercial Lease, para. 22).

        Thus, Plaintiffs may not bring their present claims against this Defendant, and must bring

 them, if at all, in William P. Matthews v. Just 4 The Kids Daycare and Paulette Edwards, Case

 No. 47-CV-2020-000096.00-CEH, as they have already done.

        6.      Plaintiffs’ claims for money had and received are due to be dismissed for failure

 to state a claim upon which relief can be granted. Plaintiffs make claims for money had and

 received (Count Two of the Complaint, Doc. 2), claiming that they paid William P. Matthews

 money from May 3, 2018 until September 2020. However, they bring claims for money had and

 received against Defendant Bo Matthew Center for Excellence, whom Plaintiffs do not claim

 they paid. Doc. 2, ¶¶ 20, 23, 24. Therefore, Plaintiffs fail to state claims for money had and

 received upon which relief can be granted, and Plaintiffs’ claims for money had and received

 should be dismissed.

        7.      Furthermore, Plaintiffs’ two claims are equitable claims and equitable issues must

 be tried to the Court, and Plaintiffs are not entitled to a jury, and the Court should strike the jury

 demand. Ex parte Thorn, 788 So. 2d 140, 145 (Ala. 2000).



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        8.      Plaintiffs’ claims lack merit and Plaintiffs’ claims and this case are brought

 without substantial justification. The claims are frivolous, groundless in fact or in law, and/or

 are vexatious, and are interposed for improper purpose, including to cause unnecessary delay and

 needless increase in the cost of litigation, and the Court should award Defendant attorneys’ fees

 and costs pursuant to Ala. Code § 12-19-271 and Alabama Rule of Civil Procedure 11.

        WHEREFORE, premises considered, Defendant respectfully requests the Court dismiss

 Plaintiffs claims.

        Respectfully submitted this 20th day of July 2021.

                                               WILMER & LEE, P.A.

                                               /s/ Richard J.R. Raleigh, Jr.
                                               Richard J.R. Raleigh, Jr. (RAL003)

                                               /s/ Christopher L. Lockwood
                                               Christopher L. Lockwood (LOC018)

                                               Attorney for Defendant
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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 20, 2021, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

 system to all parties indicated on the electronic filing receipt. Parties may access this filing

 through the Court’s electronic filing system.


                                                    /s/ Richard J.R. Raleigh, Jr.
                                                    OF COUNSEL




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                EXHIBIT 10




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                EXHIBIT 11




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                                         AlaFile E-Notice




                                                                            47-CV-2020-000096.00
                                                                    Judge: CLAUDE E HUNDLEY III
To: LOCKWOOD CHRISTOPHER LEA
    clockwood@wilmerlee.com




                      NOTICE OF COURT ACTION
                     IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

                    WILLIAM P MATTHEWS V JUST 4 THE KIDS DAYCARE ET AL
                                   47-CV-2020-000096.00

                   A court action was entered in the above case on 8/2/2021 4:13:36 PM


                                                ORDER
                                                 [Filer: ]

    Disposition:     GRANTED
    Judge:           CEH

    Notice Date:     8/2/2021 4:13:36 PM




                                                                                 DEBRA KIZER
                                                                        CIRCUIT COURT CLERK
                                                                    MADISON COUNTY, ALABAMA
                                                                    MADISON COUNTY, ALABAMA
                                                                       100 NORTHSIDE SQUARE
                                                                         HUNTSVILLE, AL, 35801

                                                                                         256-532-3390




  Case 21-81371-CRJ7         Doc 12 Filed 08/18/21 Entered 08/18/21 15:32:00                   Desc Main
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                                      DOCUMENT 166
                                                                        ELECTRONICALLY FILED
                                                                            8/2/2021 4:13 PM
                                                                          47-CV-2020-000096.00
                                                                          CIRCUIT COURT OF
                                                                      MADISON COUNTY, ALABAMA
                                                                         DEBRA KIZER, CLERK
          IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA


  MATTHEWS WILLIAM P,                       )
  Plaintiff,                                )
                                            )
  V.                                        ) Case No.:      CV-2020-000096.00
                                            )
  JUST 4 THE KIDS DAYCARE,                  )
  EDWARDS PAULETTE,                         )
  Defendants.                               )


                                        ORDER


         MOTION TO RESET HEARING FOR AUGUST 13, 2021 filed by MATTHEWS
 WILLIAM P is hereby GRANTED. The Motion for Partial Summary Judgment, Motion
 for Writ of Possession, and Motion for Disbursement of Funds is hereby set for
 Arguments on the 13th day of August, 2021 at 9:00 a.m. in Courtroom #5, 8th floor room
 #812.



 DONE this 2nd day of August, 2021.

                                          /s/ CLAUDE E HUNDLEY III
                                          CIRCUIT JUDGE




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                EXHIBIT 12




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                                                                         47-CV-2021-900838.00
                                                                          Judge: D. ALAN MANN
To: LOCKWOOD CHRISTOPHER LEA
    clockwood@wilmerlee.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

         JUST 4 THE KIDS DAYCARE ET AL V. BO MATTHEWS CENTER FOR EXCELLENCE
                                  47-CV-2021-900838.00

                       The following matter was FILED on 8/11/2021 3:34:48 PM




    Notice Date:    8/11/2021 3:34:48 PM




                                                                              DEBRA KIZER
                                                                     CIRCUIT COURT CLERK
                                                                 MADISON COUNTY, ALABAMA
                                                                 MADISON COUNTY, ALABAMA
                                                                    100 NORTHSIDE SQUARE
                                                                      HUNTSVILLE, AL, 35801

                                                                                 256-532-3390




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                                 DOCUMENT 43
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                                                                 47-CV-2021-900838.00
                                                                 CIRCUIT COURT OF
                                                             MADISON COUNTY, ALABAMA
                                                                DEBRA KIZER, CLERK




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              UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHERN DIVISION

 In re:                             )
 BO MATTHEWS CENTER OF              )     Case No. 21-81371-CRJ-7
 EXCELLENCE                         )
                                    )     Chapter 7
                                    )
                                    )



                EXHIBIT 13




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                                                                         47-CV-2020-000096.00
                                                                 Judge: CLAUDE E HUNDLEY III
To: LOCKWOOD CHRISTOPHER LEA
    clockwood@wilmerlee.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF MADISON COUNTY, ALABAMA

                    WILLIAM P MATTHEWS V JUST 4 THE KIDS DAYCARE ET AL
                                   47-CV-2020-000096.00

                       The following matter was FILED on 8/12/2021 9:14:49 PM

                                 D001 JUST 4 THE KIDS DAYCARE
                                    D002 EDWARDS PAULETTE
                                           SUPPLEMENT
                                   [Filer: MORRISON MARIELLEN]


    Notice Date:    8/12/2021 9:14:49 PM




                                                                              DEBRA KIZER
                                                                     CIRCUIT COURT CLERK
                                                                 MADISON COUNTY, ALABAMA
                                                                 MADISON COUNTY, ALABAMA
                                                                    100 NORTHSIDE SQUARE
                                                                      HUNTSVILLE, AL, 35801

                                                                                 256-532-3390




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                                       DOCUMENT 182
                                                                         ELECTRONICALLY FILED
                                                                             8/12/2021 9:14 PM
                                                                           47-CV-2020-000096.00
                                                                           CIRCUIT COURT OF
                                                                       MADISON COUNTY, ALABAMA
                                                                          DEBRA KIZER, CLERK
             IN THE CIRCUIT COURT FOR MADISON COUNTY, ALABAMA

 MATTHEWS, WILLIAM P.,                    )
                                          )
       Plaintiff,                         )
                                          )
 vs.                                      ) CASE NO. 47CV2020-000096-CEH
                                          )
 JUST 4 THE KIDS DAYCARE, et.al.,         )
                                          )
       Defendants.                        )

                            SUGGESTION OF BANKRUPTCY

        COME NOW the Defendants, Just 4 the Kids Daycare (hereinafter the
 "Daycare") and Paulette Edwards (hereinafter "Edwards"), and submit to the Court
 notice of the filing of a Chapter 7 Involuntary Petition for Bankruptcy upon the business
 entity Bo Matthews Center of Excellence (hereinafter "BMCE"), also known as the Bo
 Mathews Center for Excellence.

         The petition was filed into the United States Bankruptcy Court for the Northern
 District of Alabama, Northern Division on August 12, 2021 and has been given the case
 number BK-21-81371.

       The filing of an involuntary chapter 7 petition imposes an automatic stay with
 regard to BMCE and affects all the assets of BMCE which come under the control of the
 Bankruptcy Court Trustee - this includes the real property at 4000 Pulaski Pike,
 Huntsville, AL and any money deposited with the Madison County Circuit Clerk's Office
 deposited in this matter by Edwards.

        BMCE is not a party in this cause of action, however, Matthews has filed
 statements in which he states he represented BMCE as "agent" or "representative" in
 this matter - even as BMCE was not listed on the "commercial lease" and all payments
 by Edwards and the Daycare were made by check as instructed to Matthews and
 deposited in Matthews personal bank account.

        Thus the money deposited is an asset of BMCE and subject to the stay imposed
 by the Bankruptcy Court.

       Respectfully,




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                                                 /s/ Mari    Morrison
                                                 Mari Morrison (MOR099)
                                                 Attorney for Defendants
                                                 430 Ronny Lane
                                                 Springville, AL 35146
                                                 (205) 837-2771
                                                 marimorrison1@gmail.com

                                 CERTIFICATE OF SERVICE
 I hereby certify on this the 12th day of August, 2021, I have caused to be served a copy
 of the foregoing on the attorneys of record for the Plaintiff using the electronic filing
 system authorized by the State of Alabama Unified Judicial System, AlaFile.


                                                 /s/ Mari Morrison
                                                 Mari Morrison




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